Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 1 of 97




          Exhibit J
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 2 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 1 of 95 PagelD #: 5897




                              THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

     PERDIEM CO, LLC,                               §
                                                    §
     v.                                             §      CASE NO. 2:15-cv-727-JRG-RSP
                                                    §
     INDUS TRACK LLC, et al.                        §
                                                    §
                                                    §

                                     CLAIM CONSTRUCTION
                                    MEMORANDUM AND ORDER

               On April 21, 2016, the Court held a hearing to determine the proper construction of

     disputed claim terms in United States Patents No. 8,223,012, 8,493,207, 8,717,166, 9,033,499,

     and 9,071,931. Having reviewed the arguments made by the patties at the hearing and in the

     parties' claim construction briefing (Dkt. Nos. 86, 91, and 94), 1 having con$idered the intt-insic

     evidence, and having made subsidiary factual findings about the extrinsic evidence, the Comi

     hereby issues this Claim Construction Memorandum and Order. See Phillips v. AWH Corp., 415

     F.3d 1303, 1314 (Fed. Cir. 2005); Teva Phann. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841

     (2015).




     1
      Citations to documents (such as the parties' briefs and exhibits) in this Claim Constt·uction
     Memorandum and Order refer to the page numbers of the original documents rather than the
     page numbers assigned by the Court's electronic docket unless otherwise indicated.


                                                   - 1-




                                                                                                   Exhibit "J"
                                                                                                 Page 1 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 3 of 97



Case 2:15-cv-00727-JRG-RSP                         Document 155 Filed 07/07/16                            Page 2 of 95 PagelD #: 5898




                                                             Table of Contents
  I. BACKGROUND ....................................................................................................................... 4
  II. LEGAL PRINCIPLES ........................................................................................................... 5
  III. THE PARTIES' STIPULATED TERMS ......................................................................... 10
  IV. CONSTRUCTION OF DISPUTED TERMS ................................................................... 10
     A. "information-sharing system," "information-sharing environment(s)," and "location
        information sharing environment(s)" .................................................................................. 10
     B. "varying levels of administrative privilege(s)" ................................................................... 15
     C. "user" and "authorized user" ............................................................................................... 18
     D. "administrator" .................................................................................................................... 23
     E. "conveyance ... is managed based on an access list" ........................................................ 25
     F. Steps..................................................................................................................................... 28
        (1) "associate with," "associates," "to associate one or more users that use the plurality
            of location information sharing environment[s] with each one of the plurality of
            user groups," and "associate at least one user identification code with each one of a
            plurality of group identification codes" .......................................................................... 28
        (2) "authorizes a first user" .................................................................................................. 31
        (3) "to access an object location information from a location information source" ............ 32
        (4) "specified by said first user" .......................................................................................... 33
        (5) "to define a relationship of an information package" and "to define an information
            package access code" ...................................................................................................... 35
        (6) "are used to specify" ...................................................................................................... 37
    G. Indefiniteness ...................................................................................................................... 39
        (1) "user identification codes" and "authorized user identification code" ........................... 39
        (2) "user codes," "first user code," and "privileged user code" ........................................... 43
        (3) "group identification codes" ........................................................................................... 47
        (4) "infonnation access code" and "information package access code" .............................. 48
        (5) "access control codes," "access control codes requiring multiple levels of access
            control," and "access control codes associated with the plurality of authorized user
            identification codes" ....................................................................................................... 53
        (6) Conveying or Managing Conveyance Based on Something other than Information
            Access Codes .................................................................................................................. 56
        (7) "levels of location information access privilege" ........................................................... 58
       (8) "grouping configurations" .............................................................................................. 61
       (9) Dependent Claims 6, 8, and 9 of the '012 Patent.. ......................................................... 63
    H. Means-Plus-Function .......................................................................................................... 66


                                                                       -2-




                                                                                                                                                          Exhibit "J"
                                                                                                                                                        Page 2 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 4 of 97



   Case 2:15-cv-00727-JRG-RSP                        Document 155 Filed 07/07/16 Page 3 of 95 PagelD #: 5899




            (1) "administrator system" ................................................................................................... 66
            (2) "one or more servers configured to" and "one or more computer servers
                configured to" ................................................................................................................. 73
            (3) "ad1ninistrator device" .................................................................................................... 77
            (4) "interfaces for configuring ... based on varying levels of administrative
                privileges" ....................................................................................................................... 79
            (5) "first level of administrator privilege being used in a first information-sharing
                environment to allow for configuring a plurality of event information-sharing
                environ1nents"................................................................................................................. 82
            (6) "access control systems" ................................................................................................ 83
        I. Computing Device/ Mobile Device/ Etc. Associated with a User Identification Code or
            User, or Having a User Identification Code ....................................................................... 85
        J. "information access code" associated with, comprises, or specifies a "user identification
            code" ................................................................................................................................... 87
        K. "based on the information access code" ............................................................................. 89
        L. Hybrid Claims ..................................................................................................................... 91
     V. CONCLUSION ...................................................................................................................... 93
     APPENDIX A .............................................................................................................................. 94




                                                                          -3-




                                                                                                                                                Exhibit "J"
                                                                                                                                              Page 3 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 5 of 97



Case 2:15-cv-00727-JRG-RSP            Document 155 Filed 07/07/16       Page 4 of 95 PagelD #: 5900




                                            I. BACKGROUND

          Plaintiff has alleged infringement of United States Patents No. 8,223,012 ("the '012

  Patent"), 8,493,207 ("the '207 Patent"), 8,717,166 ("the '166 Patent"), 9,033,499 ("the '499

  Patent"), and 9,071,931 ("the '931 Patent").

          The '012 Patent, titled "System and Method for Conveying Object Location

  Information," issued on July 17, 2012, and bears an earliest priority date of December 23, 2005.

  The Abstract of the '012 Patent states:

          An improved system and method for defining an event based upon an object
          location and a user-defined zone and managing the conveyance of object location
          event information among computing devices where object location events are
          defined in terms of a condition based upon a relationship between user-defined
          zone information and object location information. One or more location
          infonnation sources are associated with an object to provide the object location
          information. One or more user-defined zones are defined on a map and one or
          more object location events are defined. The occun-ence of an object location
          event produces object location event information that is conveyed to users based
          on user identification codes. Accessibility to object location information, zone
          information, and object location event infonnation is based upon an object
          location information access code, a zone infonnation access code, and an object
          location event information access code, respectively.

          The remaining four patents-in-suit are all related to the '012 Patent through

  continuations. Plaintiff thus submits that all of the patents-in-suit share a common specification.

  (Dkt. No. 86 at 5 n.1 ). Herein, as the parties have done in their briefing, the Court cites the

  specification of the '931 Patent.

          Sh01tly before the stait of the April 21, 2016 hearing, the Comt provided the parties with

  preliminary constructions with the aim of focusing the paities' arguments and facilitating

  discussion. Those preliminary constructions are set f01th in.fi·awithin the discussion for each

  tenn.




                                                 -4-




                                                                                                          Exhibit "J"
                                                                                                        Page 4 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 6 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 5 of 95 PagelD #: 5901




                                         II. LEGAL PRINCIPLES

             A.              Claim Construction

             "It is a 'bedrock principle' of patent law that 'the claims of a patent define the invention

     to which the patentee is entitled the right to exclude."' Phillips v. AWH C01p., 415 F.3d 1303,

      1312 (Fed. Cir. 2005) (en bane) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys.,

     Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)). To determine the meaning of the claims, courts stati

     by considering the intrinsic evidence. Id at 1313; C.R. Bard, Inc. v. US. Surgical Corp., 388

     F.3d 858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc 'ns Group, Inc.,

     262 F.3d 1258, 1267 (Fed. Cir. 2001). The intrinsic evidence includes the claims themselves, the

     specification, and the prosecution history. Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d at

     861. The general rule-subject to certain specific exceptions discussed infra-is that each claim

     term is construed according to its ordinary and accustomed meaning as understood by one of

     ordinaiy skill in the art at the time of the invention in the context of the patent. Phillips, 415 F.3d

     at 1312-13; Alloc, Inc. v. Int'! Trade Comm 'n, 342 F.3d 1361, 1368 (Fed. Cir. 2003); Azure

     Networks, LLC v. CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014) ("There is a heavy

     presumption that claim terms cany their accustomed meaning in the relevant community at the

     relevant time.") (vacated on other grounds).

             "The claim construction inquiry ... begins and ends in all cases with the actual words of

     the claim." Renishaw PLC v. Marposs Societa 'per Azioni, 158 F.3d 1243, 1248 (Fed. Cir. 1998).

     "[I]n all aspects of claim construction, 'the name of the game is the claim."' Apple Inc. v.

     Motorola, Inc., 757 F.3d 1286, 1298 (Fed. Cir. 2014) (quoting In re Hiniker Co., 150 F.3d 1362,

     1369 (Fed. Cir. 1998)). First, a term's context in the asse1ied claim can be instructive. Phillips,

     415 F.3d at 1314. Other asserted or unasse1ied claims can also aid in determining the claim's



                                                     -5-




                                                                                                       Exhibit "J"
                                                                                                     Page 5 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 7 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 6 of 95 PagelD #: 5902




  meaning, because claim terms are typically used consistently throughout the patent. Id.

  Differences among the claim te1ms can also assist in understanding a te1m's meaning. Id. For

  example, when a dependent claim adds a limitation to an independent claim, it is presumed that

  the independent claim does not include the limitation. Id. at 1314-15.

          "[C]laims 'must be read in view of the specification, of which they are a part."' Id.

  (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en bane)).

  "[T]he specification 'is always highly relevant to the claim construction analysis. Usually, it is

  dispositive; it is the single best guide to the meaning of a disputed term."' Id. (quoting Vitronics

  C01p. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am.

  C01p., 299 F.3d 1313, 1325 (Fed. Cir. 2002). But, "'[a]lthough the specification may aid the

  court in interpreting the meaning of disputed claim language, paiiicular embodiments and

  examples appearing in the specification will not generally be read into the claims."' Comark

  Commc 'ns, Inc. v. Harris Corp., 156 F .3d 1182, 1187 (Fed. Cir. 1998) (quoting Constant v.

  Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)); see also Phillips, 415

  F.3d at 1323. "[I]t is improper to read limitations from a prefened embodiment described in the

  specification-even if it is the only embodiment-into the claims absent a clear indication in the

  intrinsic record that the patentee intended the claims to be so limited." Liebel-Flarsheim Co. v.

  Medrad, Inc., 358 F.3d 898,913 (Fed. Cir. 2004).

         The prosecution history is another tool to supply the proper context for claim

  construction because, like the specification, the prosecution history provides evidence of how the

  U.S. Patent and Trademark Office ("PTO") and the inventor understood the patent. Phillips, 415

  F.3d at 1317. However, "because the prosecution history represents an ongoing negotiation

  between the PTO and the applicant, rather than the final product of that negotiation, it often lacks



                                                 -6-




                                                                                                           Exhibit "J"
                                                                                                         Page 6 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 8 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 7 of 95 PagelD #: 5903




     the clarity of the specification and thus is less useful for claim construction purposes." Id. at

      1318; see also Athletic Alternatives, Inc. v. Prince Mfg., 73 F.3d 1573, 1580 (Fed. Cir. 1996)

     (ambiguous prosecution hist01y may be "unhelpful as an interpretive resource").

             Although extrinsic evidence can also be useful, it is '"less significant than the intrinsic

     record in determining the legally operative meaning of claim language."' Phillips, 415 F.3d at

      1317 (quoting C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a

     comi understand the underlying technology and the manner in which one skilled in the art might

     use claim terms, but technical dictionaries and treatises may provide definitions that are too

     broad or may not be indicative of how the term is used in the patent. Id. at 1318. Similarly,

     expe1i testimony may aid a comi in understanding the underlying technology and dete1mining

     the paiiicular meaning of a term in the pertinent field, but an expert's conclusory, unsupported

     assertions as to a term's definition are entirely unhelpful to a comi. Id. Generally, extrinsic

     evidence is "less reliable than the patent and its prosecution hist01y in determining how to read

     claim terms." Id. The Supreme Comi recently explained the role of extrinsic evidence in claim

     construction:

            In some cases, however, the district court will need to look beyond the patent's
            intrinsic evidence and to consult extrinsic evidence in order to understand, for
            example, the background science or the meaning of a term in the relevant art
            during the relevant time period. See, e.g., Seymour v. Osborne, 11 Wall. 516, 546
            (1871) (a patent may be "so interspersed with technical terms and terms of aii that
            the testimony of scientific witnesses is indispensable to a correct understanding of
            its meaning"). In cases where those subsidiaiy facts are in dispute, comis will
            need to make subsidiary factual findings about that extrinsic evidence. These are
            the "evidentiary underpinnings" of claim construction that we discussed in
            Markman, and this subsidiary factfinding must be reviewed for clear error on
            appeal.

     Teva Phann. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831,841 (2015).




                                                    -7-




                                                                                                     Exhibit "J"
                                                                                                   Page 7 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 9 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16         Page 8 of 95 PagelD #: 5904




          B.      Departing from the Ordinary Meaning of a Claim Term

          There are "only two exceptions to [the] general rule" that claim tenns are construed

   according to their plain and ordinaiy meaning: "l) when a patentee sets out a definition and acts

  as his own lexicographer, or 2) when the patentee disavows the full scope of the claim term

  either in the specification or during prosecution." 2 Golden Bridge Tech., Inc. v. Apple Inc., 758

  F.3d 1362, 1365 (Fed. Cir. 2014) (quoting Thorner v. Sony Computer Entm 't Am. LLC, 669 F.3d

   1362, 1365 (Fed. Cir. 2012)); see also GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d

   1304, 1309 (Fed. Cir. 2014) ("[T]he specification and prosecution history only compel departure

  from the plain meaning in two instances: lexicography and disavowal."). The standards for

  finding lexicography or disavowal are "exacting." GE Lighting Solutions, 750 F.3d at 1309.

          To act as his own lexicographer, the patentee must "clearly set forth a definition of the

  disputed claim term," and "clearly express an intent to define the term." Id. (quoting Thorner,

  669 F.3d at 1365); see also Renishaw, 158 F.3d at 1249. The patentee's lexicography must

  appear "with reasonable clarity, deliberateness, and precision." Renishaw, 158 F.3d at 1249.

          To disavow or disclaim the full scope of a claim term, the patentee's statements in the

  specification or prosecution history must amount to a "clear and unmistakable" surrender. Cordis

  C01p. v. Boston Sci. C01p., 561 F.3d 1319, 1329 (Fed. Cir. 2009); see also Thorner, 669 F.3d at

  1366 ("The patentee may demonstrate intent to deviate from the ordinaiy and accustomed

  meaning of a claim term by including in the specification expressions of manifest exclusion or

  restriction, representing a clear disavowal of claim scope.") "Where an applicant's statements are

  amenable to multiple reasonable interpretations, they cannot be deemed clear and unmistakable."

  2
   Some cases have characterized other principles of claim construction as "exceptions" to the
  general rule, such as the statutory requirement that a means-plus-function term is construed to
  cover the conesponding structure disclosed in the specification. See, e.g., CCS Fitness, Inc. v.
  Brunswick C01p., 288 F.3d 1359, 1367 (Fed. Cir. 2002).

                                                - 8-




                                                                                                         Exhibit "J"
                                                                                                       Page 8 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 10 of 97



   Case 2:15-cv-00727-JRG-RSP            Document 155 Filed 07/07/16 Page 9 of 95 PagelD #: 5905




      3M Innovative Props. Co. v. Tredegar C01p., 725 F.3d 1315, 1326 (Fed. Cir. 2013); see also

      Avid Tech., Inc. v. Harmonic, Inc., 812 F.3d 1040, 1045 (Fed. Cir. 2016) ("When the prosecution

      history is used solely to support a conclusion of patentee disclaimer, the standard for justifying

      the conclusion is a high one.").

              C.     Definiteness Under 35 U.S.C. § 112, 12 (pre-AIA) / § 112(b) (AIA) 3

              Patent claims must paiiicularly point out and distinctly claim the subject matter regarded

      as the invention. 35 U.S.C. § 112, ,1 2. A claim, when viewed in light of the intrinsic evidence,

      must "inform those skilled in the art about the scope of the invention with reasonable ce1iainty."

      Nautilus Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014). If it does not, the claim

      fails § 112, ,12 and is therefore invalid as indefinite. Id at 2124. Whether a claim is indefinite is

      determined from the perspective of one of ordinary skill in the art as of the time the application

      for the patent was filed. Id at 2130. As it is a challenge to the validity of a patent, the failure of

      any claim in suit to comply with § 112 must be shown by clear and convincing evidence. Id at

      2130 n.10. "[I]ndefiniteness is a question of law and in effect paii of claim construction." ePlus,

     Inc. v. Lawson Software, Inc., 700 F.3d 509, 517 (Fed. Cir. 2012).

             When a term of degree is used in a claim, "the comi must detem1ine whether the patent

     provides some standard for measuring that degree." Biosig Instruments, Inc. v. Nautilus, Inc.,

     783 F.3d 1374, 1378 (Fed. Cir. 2015) (quotation marks omitted). Likewise, when a subjective

     term is used in a claim, "the court must dete1mine whether the patent's specification supplies

     some standard for measuring the scope of the [term]." Datamize, LLC v. Plum tree Software, Inc.,




     3
      Because the Asserted Patents have an effective filing date before September 16, 2012, the
     effective date of the America Invents Act ("AIA"), the Court refers to the pre-AIA version of
     § 112.

                                                      -9-




                                                                                                       Exhibit "J"
                                                                                                     Page 9 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 11 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 10 of 95 PagelD #: 5906




   417 F.3d 1342, 1351 (Fed. Cir. 2005); accord Interval Licensing LLC v. AOL, Inc., 766 F.3d

   1364, 1371 (Fed. Cir. 2014) (citing Datamize, 417 F.3d at 1351).

                            III. THE PARTIES' STIPULATED TERMS

          The pmiies reached agreement on constructions as stated in their January 28, 2016 Joint

   Claim Construction and Prehearing Statement (Dkt. No. 61 at 1-2). The pmiies' agreements are

   set fo1ih in Appendix A to the present Claim Construction Memorandum and Order.

                          IV. CONSTRUCTION OF DISPUTED TERMS

   A. "information-sharing system," "information-sharing environment(s)," and "location
   information sharing environment(s)"

   Plaintiff's Proposed Construction                  Defendants' Proposed Construction

   "a computing network where the conveyance          "a computing4 network including a map server
   of information (e.g., location information, zone   and computing devices, and a plurality of users
   information, or event information) from a          who are able to share inf01mation with each
   server to a group of users' computing devices      other through that network"
   can be controlled or configured"

   (Dkt. No. 86 at 4); (Dkt. No. 91 at 5); (Dkt. No. 97, App'x A at 18). Defendants submit that

   these disputed terms appear in Claims 17 and 19 of the '207 Patent and Claims 4---5,9-10, 16,

   19, and 24 of the '166 Patent. 5 (Dkt. No. 61, Ex.Bat 5).

          Shortly before the sta1i of the April 21, 2016 hearing, the Comi provided the parties with

   the following preliminary construction: "a computing network where the conveyance of


   4
    Defendants have also proposed "computer" rather than "computing." (Dkt. No. 61, Ex.Bat 5);
   (Dkt. No. 97, App'x A at 18).
   5
    Plaintiffs portion of the Joint Claim Construction and Prehearing Statement suggests that:
  "Claims identified below are from Defendants' [P.R.] 4-2 disclosure, and therefore may not be
  accurate." (Dkt. No. 61, Ex. A at 10 n.4). The Court does not here conduct an independent
  investigation because the parties are in the best position to identify the claims at issue, in
  particular because Plaintiff has selected the asserted claims and because the Local Rules require
  the parties to identify the claims and terms in dispute. The Comi therefore relies upon the
  identification of claims in Defendants' portion of the Joint Claim Construction and Prehearing
  Statement. See (id. at Ex. B).

                                                 - 10 -




                                                                                                           Exhibit "J"
                                                                                                        Page 10 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 12 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 11 of 95 PagelD #: 5907




      information from a server to a group of users' computing devices can be controlled or

      configured."

              (1) The Parties' Positions

              Plaintiff argues that Defendants' proposal of a "users" limitation "is entirely inconsistent

      with the teaching that the users are removed from the automated process," and "Defendants'

      construction reads in another limitation ('map server') that wrongly suggests that the claims

      require a particular type of server." (Dkt. No. 86 at 4). Plaintiff also argues: "By analogy, the

      user identification codes are like the license plate on a car. The license plate number may

      identify the owner of the car, but it does not mean that the owner has to actually drive the car.

      Additionally, the license plate number allows any licensed driver to use the car, and the number

      does not change depending on the driver. Therefore, the driver is irrelevant to the license plate

      number." (Id. at 9). Plaintiff further urges that Defendants' proposal "may confuse the jury into

      wrongly concluding that the server has to store the maps, or that it cannot serve other purposes."

      (Id. at 10).

              Defendants respond that "the proper analysis must begin with 'information sharing

      environment' and the express statements in the specification which characterize that term, e.g.,

      'an information-sharing environment consists of a computing network including a map server

      and computing devices."' (Dkt. No. 91 at 5) (quoting '931 Patent at 4:65-67). As to "plurality

      of users," Defendants argue "[t]he context of the claims and the specification illustrate that

      'users' (as properly construed) are so inextricably woven into the fabric of the purported

      invention that it would be error for the Court to eliminate them from the construction of

      information sharing environment." (Dkt. No. 91 at 6). Finally, Defendants argue the claim

      language itselfrequires that '"sharing' must occur within the environment." (Id. at 7).



                                                    - 11 -




                                                                                                     Exhibit "J"
                                                                                                  Page 11 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 13 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 12 of 95 PagelD #: 5908




          At the April 21, 2016 hearing, Defendants reiterateA that the specification refers to the

   present invention as using a map server, and Defendants clarified that "map server" in their

   proposal refers to a server that is limited to providing maps. Defendants also emphasized

   Retractable Techs., Inc. v. Becton, Dickinson & Co., 653 F.3d 1296, 1305 (Fed. Cir. 2011), as

   prohibiting the claim scope from departing from what the specification describes as the

   invention. Plaintiff responded that the specification discloses that servers can have various

   functions and that maps can be stored separately.

          (2) Analysis

          As to Defendants' proposal ofrequiring a "map server," the specification discloses:

          The present invention provides a system and method for defining an event that
          relates to a location of an object and managing the conveyance of related
          information among computing devices associated with conesponding user
          identification codes. In accordance with the present invention, an information-
          sharing environment consists of a computing network including a map server and
          computing devices. Objects associated with sources of location inf01mation
          provide object location information comprising one or more coordinates. In an
          exemplmy embodiment, the coordinates conespond to one or more determined
          locations of the objects within an established coordinate system. In the system
          and method of the present invention, an object can comprise any device, thing,
          person or entity that can be located or tracked. A user of a computing device can
          retrieve a map, for example, from a map server and define a user-defined zone on
          the map. According to one aspect of the invention, an object location event is
          defined based on a relationship between one or more object locations and one or
          more user-defined zones, where the occunence of the object location event is
          determined when a condition associated with the relationship is satisfied.

   '931 Patent at 4:61-5: 14 (emphasis added). Also of note, although the specification refers to the

   "Server" 110 shown in Figure 1 as "map server 110," the "map information 112" (labeled as

   "MAPS" in Figure 1) is illustrated in Figure 1 as distinct from the server. See id. at 6:4-8

  ("Referring to FIG. 1, information-sharing environment 100 includes computing network 102

  having wired and wireless network links 104, 106 and connectivity to the Internet 108 that

  provides access to a map server 110 and map information 112."). Further, the specification


                                                 - 12 -




                                                                                                           Exhibit "J"
                                                                                                        Page 12 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 14 of 97



   Case 2:15-cv-00727-JRG-RSP            Document 155 Filed 07/07/16          Page 13 of 95 PagelD #: 5909




          discloses more generally that a "database of user information" can be maintained on a

          "company's computer server." Id. at 12:61-67.

                 On balance, the above-quoted disclosure of a map server being "[i]n accordance with" the

      present invention, particularly in light of the subsequent reference to "an exemplary

      embodiment,"6 demonstrates that a "map server" is a specific feature of particular embodiments

      that should not be impo1ied into the claims. See Comark, 156 F.3d at 1187; see also Phillips,

      415 F.3d at 1323.

                As to Defendants' proposal of requiring "users," Claim 17 of the '207 Patent recites

      "each user identification code being associated with a user" (emphasis added):

                17. An information-sharing system, comprising:
                        a database storing user information associated with a plurality of groups of
                users of computing devices, each computing device having a corresponding user
                identification code stored in the database, each user identification code being
                associated with a user within each group of users; and
                        an administrator device that associates a first user identification code with
                an authorized user within a group of users, the authorized user of the group of
                users having an access privilege to location information of a computing device
                associated with a second user identification code of a user within the group of
                users that includes the authorized user, wherein the location info1mation of the
                computing device associated with the second user identification code is conveyed
                based on an authorization by the authorized user.

                Nonetheless, although parts of the claimed system are "associated" with users, the users

      are not recited as being paii of the claimed system. Indeed, the specification discloses that a

      server communicates with other computers. See, e.g., '931 Patent at 4:61-65 (quoted above).

      Further, the specification discloses that identification can be device-specific rather than user-

      specific. See id. at 2: 18-20 ("association of a user identification code with a computing device

      can be an embedded association (e.g., hard-wired) or it can be based on a user log-in at the


      6
       The preceding paragraph also states that the "invention should not ... be construed as limited
     to the embodiments set forth herein." '931 Patent at 4:56-57.

                                                       - 13 -




                                                                                                       Exhibit "J"
                                                                                                    Page 13 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 15 of 97



Case 2:15-cv-00727-JRG-RSP             Document 155 Filed 07/07/16 Page 14 of 95 PagelD #: 5910




   computing device") & 7:32-36 ("Certain computing devices (e.g., a PDA or smart phone) may

   allow a user identification code to be embedded or programmed into a computing device's

   mem01y such that any user of the computing device is considered to be the user owning the

   device.").

           Although Defendants cite a disclosure that "[t]he invention requires defining a zone by

   the one or more users," no such limitation is apparent in the above-quoted claim. Moreover,

   Defendants have not demonstrated that any requirement of user-defined zones necessarily means

   that users themselves are a claim limitation. The Court thus rejects Defendants' proposal of

   requiring "a plurality of users."

          Finally, as to Defendants' proposal that users must be able to "share information with

   each other through that network," the specification discloses for example that "[t]he sharing of

   info1mation may be managed among a small number of users such as a family or group of

   friends, or among a very large number of users such as among employees of ve1y large business,

   or among a worldwide user base such as a might be provided via an Internet service." Id.

   at 5:28-33. Because "sharing" appears in the disputed te1m itself and is adequately expressed by

   Plaintiffs proposal of "conveyance," the Court rejects Defendants' proposal in that regard as

   redundant and unnecessary.

          The Court therefore hereby construes "information-sharing system," "information-

   sharing environment(s)," and "location information sharing environment(s)" to mean "a

   computing network where the conveyance of information from a server to a group of users'

   computing devices can be controlled or configured."




                                                 - 14 -




                                                                                                         Exhibit "J"
                                                                                                      Page 14 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 16 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 15 of 95 PagelD #: 5911




      B. "varying levels of administrative privilege(s)"

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      "a hierarchy of privileges for administering        "a different administrator for configuring each
      groups or sub-groups of users"                      information-sharing environment"


      (Dkt. No. 86 at 11); (Dlct.No. 97, App'x A at 24). Defendants submit that these disputed terms

      appear in Claims 4, 5, 9, 10, 16, 19, and 24 of the '166 Patent and Claims 1, 4, 5, 12, and 17 of

      the '499 Patent. (Dlct.No. 61, Ex.Bat 14).

              Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

      the following preliminary constrnction: "Plain and ordinary meaning. / Expressly rejecting

      Plaintiffs proposal of 'hierarchy' / Expressly rejecting Defendants' proposal of 'different

      administrator."'

             (1) The Parties' Positions

             Plaintiff submits: "Each claim states that certain events occur based on the varying levels

      of administrative privileges.    This means that there has to be a hierarchy of 'levels' of

      administrative privilege that allows ce1iain events to occur." (Dlct. No. 86 at 12). Plaintiff

      argues that "Defendants seek a construction that improperly adds a new and conflicting

      requirement to the claims that a different administrator actually configure each information-

      sharing environment." (Id. at 13).

             Defendants respond that "as an alternative to finding the term indefinite, a POSA

      [(person of ordinary skill in the art)] could conclude that the claim term 'varying levels of

     administrative privilege' refers to the 'various levels of administrator privilege' referenced in the

     specification." (Dkt. No. 91 at 8) (citing '931 Patent at 5:51-54) (footnote omitted). Fmiher,

     Defendants argue, "from the fact that those various levels of administrator privilege exist



                                                     - 15 -




                                                                                                     Exhibit "J"
                                                                                                  Page 15 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 17 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 16 of 95 PagelD #: 5912




   because there can be multiple smaller environments which are independent or independently

   configurable, the POSA would conclude there is a different administrator for each environment."

   (Dkt. No. 91 at 8-9).

           At the April 21, 2016 hearing, the paiiies did not present any oral argument as to this

   te1m.

           (2) Analysis

           Claim 1 of the '499 Patent recites in relevant part (emphasis added): "said plurality of

   information-sharing environments are configurable based on vmying levels of administrator

  privileges, said varying levels of administrator privilege comprising a first level of administrator

   privilege associated with a network administrator and a second level of administrator privileges

   associated with said plurality of authorized users."

           Claim 1 of the '166 Patent, as another example, recites (emphasis added):

            1. A method for conveying infonnation related to locations of a plurality of
           mobile devices of users in a plurality of user groups, comprising:
                    creating a plurality of information-sharing environments over a network of
            computing devices comprising interfaces for configuring the plurality of
           information-sharing environments for users based on vmying levels of
           administrative privileges, wherein the plurality of information-sharing
           environments comprise a first information-sharing environment and a plurality of
           second information-sharing environments, said plurality of second information-
           sharing environments comprising a plurality of independently configurable
           location information sharing environments created within the first information
           sharing environment;
                   configuring the first information-sharing environment based on a first
           level of administrative privilege to associate one or more users that use the
           plurality of location infmmation sharing environment with each one of the
           plurality of user groups;
                   configuring each one [of] the plurality of location information-sharing
           environments for each user group independent of one another based on at least
           one second level of administrative privilege by specifying one or more levels of
           location information access privilege for at least one authorized user in each user
           group; and




                                                  - 16 -




                                                                                                            Exhibit "J"
                                                                                                         Page 16 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 18 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 17 of 95 PagelD #: 5913




                    managing conveyance of infonnation related to location of the plurality of
             the mobile devices in the plurality of user groups based on a plurality of location
             infonnation access privileges associated with a plurality of authorized users.

             The claims thus set forth how different levels of administrative privileges may be used,

      and the claim does not recite multiple administrators or that multiple computers must be used to

      perform configuration. Likewise, the specification discloses:

             Because smaller information-sharing environments can exist within larger
             information-sharing information environments, various levels of administrator
             privileges can exist.

      '931 Patent at 5:51-54.

             Also, the specification discloses that "one or more" administrators may configure the

      environments:

             In one embodiment, one or more administrators may be given privileges to
             configure the information-sharing environment. Such configuration could include
             specifying authorized users of the environment and their access privileges, etc.
             Such configuration can also define groups of users as part of an established
             organizational structure associated with the inf01mation-sharingenvironment.

      Id. at 5:39-45 (emphasis added); see id. at 7:7-19. Further, whereas Claim 1 of the '499 Patent

      for example recites an "administrator," above-quoted Claim 1 of the '166 Patent does not. See

      id. at 5 :62-65 ("A family can set up its own info1mation-sharing environment and an individual

      may set up his or her own inf01mation-sharing environment.").

             As to Plaintiffs proposal of a "hierarchy," however, Plaintiff has not demonstrated that

     the existence of different "levels" necessarily requires a hierarchical organization. It is possible

     for "varying levels of administrative privileges" to exist without those levels being arranged in a

     hierarchy.

             The Court therefore expressly rejects Plaintiffs proposed construction as well as

     Defendants' proposed construction. No further construction is necessary. See US. Surgical



                                                    - 17 -




                                                                                                    Exhibit "J"
                                                                                                 Page 17 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 19 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 18 of 95 PagelD #: 5914




   Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) ("Claim construction is a matter of

   resolution of disputed meanings and technical scope, to clarify and when necessaiy to explain

   what the patentee covered by the claims, for use in the dete1mination of infringement. It is not

   an obligatory exercise in redundancy."); see also 02 Micro Int'! Ltd. v. Beyond Innovation Tech.

   Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008) ("[D]istrict comis are not (and should not be) required

   to construe every limitation present in a patent's asserted claims."); Fin.fan, Inc. v. Secure

   Computing Corp., 626 F.3d 1197, 1207 (Fed. Cir. 2010) ("Unlike 02 Micro, where the comi

   failed to resolve the paiiies' quarrel, the district comi rejected Defendants' construction.");

   ActiveVideo Networks, Inc. v. Verizon Commcn's, Inc., 694 F.3d 1312, 1326 (Fed. Cir. 2012);

   Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d 1283, 1291 (Fed. Cir. 2015).

          The Comi therefore hereby construes "varying levels of administrative privilege(s)" to

   have its plain meaning.

   C. "user" and "authorized user"


                                                 "user"
                                  ('012 Patent, Claims 6, 9, 10, 23, 27;
                                       '207 Patent, Claims 17, 19;
                               '166 Patent, Claims 4, 5, 9, 10, 16, 19, 24;
                                   '499 Patent, Claims 1, 4, 5, 12, 17;
                                          '931 Patent, Claim 6)

   Plaintiff's Proposed Construction                  Defendants' Proposed Construction

   No construction necessa1y                          "a person who uses"




                                                  - 18 -




                                                                                                          Exhibit "J"
                                                                                                       Page 18 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 20 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16         Page 19 of 95 PagelD #: 5915




                                             "authorized user"
                                        ('207 Patent, Claims 17, 19;
                                 '166 Patent, Claims 4, 5, 9, 10, 16, 19, 24;
                                     '499 Patent, Claims 1, 4, 5, 12, 17)

      Plaintiff's Proposed Construction                 Defendants' Proposed Construction

      Not indefinite.                                   Indefinite

      No constrnction necessary. Alternatively, a
      user that is authorized.

      (Dkt. No. 61, Ex. A at 79); (id., Ex. B at 11); (Dkt. No. 86 at 15); (Dkt. No. 91 at 3); (Dkt. No.

      97, App'x A at 1 & 18).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the patties with

      the following preliminary constrnctions: "user" means "a person who uses"; and "authorized

      user" has its "Plain and ordinaty meaning (applying the Comt's constrnction of 'user')."

             (I) The Patties' Positions

             Plaintiff argues that "[i]n situations like this one, it is difficult to envision a claim

      construction that is clearer than the claim language itself." (Dkt. No. 86 at 15). Plaintiff also

      argues that Defendants' proposal "is a blatant attempt to interject a human-element into a claim

      where it does not exist" and "raises the question: uses what?" (Id. at 16). Fmther, Plaintiff

      argues, "the users are inelevant to the automated system, and the 'user identification codes' may

      be hardwired or programmed," and "the Asserted Patents provide embodiments for tracking pets

      and other animals" rather than merely people. (Id.).

             Defendants respond by explaining that "a 'user' is a person who is able to control at least

      some of the operation and behavior of the purported invention." (Dkt. No. 91 at 3). Defendants

     argue that "the specification differentiates between users (i.e., the people who 'use' the system)

     and 'objects' (i.e., 'things' that are merely tracked by the system)." (Id.). Further, Defendants

                                                    - 19 -




                                                                                                    Exhibit "J"
                                                                                                 Page 19 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 21 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 20 of 95 PagelD #: 5916




   argue that "[w]hile a 'user' may be an 'object,' the reverse is not necessarily tlue." (Id. at 4).

   Finally, Defendants argue: "The term 'authorized user' ... is indefinite. 'Authorized users' and

   'users' are claimed differently in the Asserted Patents, without any indication as to what

   distinguishes the two. In fact, all 'users' are described as being 'authorized.' [' 931 Patent at]

   5:54-57." (Dkt. No. 91 at 3 n.2).

          At the April 21, 2016 hearing, Plaintiff had no objection to requiring a user to be a human

   being, but Plaintiff expressed concern that Defendants' proposal of "use" is intended to require

   that a user must be able to actively control operation of the claimed invention. Defendants

   responded that they are not proposing any construction of "use."

          (2) Analysis

          The specification refers to "users" in contexts in which users appear to be people:

          The sharing of information may be managed among a small number of users such
          as a family or group of friends, or among a very large number of users such as
          among employees of very large business, or among a worldwide user base such as
          a [sic] might be provided via an Internet service.

          ***

          [A]n Internet service based on the present invention can be provided and
          administered such that anyone having access to the Internet can purchase the
          service and be an authorized user.

   '931 Patent at 5:28-31 & 5:54-57.

          In accordance with the present invention, the users of the computing devices each
          have user identification codes that can be associated with the computing devices
          in order to manage the conveyance of information to the computing devices based
          upon the identify [sic, identity] of the user and infmmation access privileges.

          ***

          Furthermore, user identification codes are typically associated with other user
          information such as the user name, title, address information, email address,
          phone numbers, etc.



                                                - 20 -




                                                                                                           Exhibit "J"
                                                                                                        Page 20 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 22 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 21 of 95 PagelD #: 5917




              ***
              Information maintained for a user typically includes a user account name and
              password and a user identification code, and may include a variety of information
              about the user including the user's name, address, phone number(s), email
              address(s), company name, title, birth date, etc.

      Id. at 6:64-7:2, 7:23-26 & 12:67-13:4. Likewise, the specification refers to a "user log-in at the

      computing device":

              For example, association of a user identification code with a computing device
              can be an embedded association (e.g., hard-wired) or it can be based on a user
              log-in at the computing device.

      Id. at 2: 18-21; see id. at 7 :29-31 ("user login process whereby a user enters a user account name

      and password"); see also id. at 7:50-52 ("by a user logging into a computing device, a given user

      identification code is associated with the computing device").

             As to extrinsic evidence, Defendants have submitted a technical dictionary definition of

      "user" as meaning "end user," which in turn is defined as: "The person who uses a computer

      system and its application programs at home or at work to perform tasks and produce results."

      (Dkt. No. 91, Ex. 2) (Webster's New World Computer Dictionary 129, 387 (10th ed. 2003))

      (emphasis added).

             As to Plaintiff's argument that constrning a "user" to be a "person" would violate the

      prohibition against claiming a human organism, the claims here at issue are directed to

      interactions between a person and a system rather than to the person as an organism. As noted

      above, at the April 21, 2016 hearing Plaintiff had no objection to requiring a user to be a human

      being. Although the specification refers to tracking pets, a pet is disclosed as being an object,

      not a user. See '931 Patent at 19:1-8; see also id. at 6:20-24 ("FIG. 1 also illustrates various

      examples of objects (e.g., devices, things, people, vehicles, animals, etc.) that can be associated




                                                    - 21 -




                                                                                                    Exhibit "J"
                                                                                                 Page 21 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 23 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16         Page 22 of 95 PagelD #: 5918




   with location information sources enabling object location information to be conveyed to

   computing devices.").

            As to Plaintiffs concerns regarding how Defendants' might be interpreting the word

   "use," Defendants are not proposing any constrnction or elaboration upon the word "use" and the

   Court does not adopt any. Instead, at least upon the present record, any question of "use"

   appears to be a factual question of infringement rather than a legal question for claim

   constrnction. PPG Indus. v. Guardian Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998)

   ("[A]fter the court has defined the claim with whatever specificity and precision is warranted by

   the language of the claim and the evidence bearing on the proper construction, the task of

   determining whether the constrned claim reads on the accused product is for the finder of fact.").

            Further, although Plaintiff argues that Defendants' proposed construction would render

   phrases such as "user identification code" nonsensical, such a phrase can be readily understood

   as refening to an identification code of a person who uses.

            Finally, Defendants have not adequately supported their footnoted argument that

   "authorized user" is indefinite. (Dkt. No. 91 at 3 n.2). The Court therefore rejects Defendants'

   indefiniteness argument and finds that "authorized user" has its plain meaning apart from the

   Court's constrnction of the term "user."

            The Court accordingly hereby constrnes the disputed terms as set fo1ih in the following

   chaii:

                         Term                                         Construction

   "user"                                            "a person who uses"

   "authorized user"                                 Plain meaning apart from the Court's
                                                     construction of "user"




                                                 - 22 -




                                                                                                           Exhibit "J"
                                                                                                        Page 22 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 24 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 23 of 95 PagelD #: 5919




      D. "administrator"

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      No construction necessary                          "a user who has rights to configure a
                                                         computing network"

      (Dkt. No. 86 at 16); (Dkt. No. 91 at 7); (Dkt. No. 97, App'x A at 1). Defendants submit that this

      disputed term appears in Claims 6, 9, 10, and 12 of the '012 Patent, Claims 17 and 19 of the '207

      Patent, Claim 24 of the '166 Patent, and Claims 1, 4, 5, 12, and 17 of the '499 Patent. (Dkt.

      No. 61, Ex. B at 3).

              Shortly before the staii of the April 21, 2016 hearing, the Cami provided the parties with

      the following preliminary construction: "Plain and ordinary meaning. / Expressly rejecting

      Defendants' proposal that an administrator must be a 'user.'"

              (1) The Paiiies' Positions

             Plaintiff argues: "Once again, Defendants propose a construction that interjects

      unnecessmy ambiguity into an already clear term. Moreover, Defendants propose the same

      construction for different contexts, leading to illogical constructions. Even worse, Defendants'

      construction improperly attempts to read a human-element into claims where there is none."

      (Dlct.No. 86 at 16). For example, Plaintiff notes that "[s]ometimes 'administrator' is used as a

      noun; sometimes it is used as an adjective." (Id. at 17).

             Defendants respond that "[w]here 'administrator' is used in the specification, it refers to a

      person, not a device," and "[t]he only logical implication is that claims which use 'administrator'

      alone do not intend to remove the human element from the claim." (Dkt. No. 91 at 7-8) (citing

      '931 Patent at 5:39---48,9:21-24 & 13:13-21).




                                                     - 23 -




                                                                                                     Exhibit "J"
                                                                                                  Page 23 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 25 of 97



Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16           Page 24 of 95 PagelD #: 5920




           At the April 21, 2016 hearing, Defendants urged that just as a "user" is a person who

   uses, an "administrator" is a person who administers.            Plaintiff responded that the term

   "administrator" can encompass people as well as devices.

           (2) Analysis

           Claim 1 of the '012 Patent, for example, recites (emphasis added):

            1. A method for conveying user location information, comprising:
                    interfacing with an administrator that authorizes a first user associated
           with a first user identification code to access an object location information from
           a location information source associated with a second user identification code
           that is different from the first identification code; and
                    conveying the object location information to a third user based on an
           information access code specified by said first user, said information access code
           being associated with a third user identification code that is different from the first
           and second user identification codes.

           This claim language thus contains no indication that an administrator must be a "user" or

   that an administrator must be a person. Further, whereas Defendants' proposed construction uses

   the term "rights," the recital of "an administrator that authorizes" is sufficiently clear on its face

   and the specification does not refer to "rights."

          Defendants argue that "[a]pplying principles of claim differentiation, the term

   'administrator,' when used alone as a noun, must be broader than an 'administrator system' or

   'administrator device."' (Dkt. No. 91 at 7).

          [T]wo considerations generally govern this claim construction tool when applied
          to two independent claims: (1) claim differentiation takes on relevance in the
          context of a claim construction that would render additional, or different,
          language in another independent claim superfluous; and (2) claim differentiation
          "can not broaden claims beyond their c01Tectscope."

   Curtiss-Wright Flow Control Corp. v. Ve/an, Inc., 438 F.3d 1374, 1381 (Fed. Cir. 2006).

          Defendants refer to the recital of an "administrator system" in Claim 7 of the '0 12 Patent,

  which is an independent claim (emphasis added):



                                                   - 24 -




                                                                                                               Exhibit "J"
                                                                                                            Page 24 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 26 of 97



   Case 2:15-cv-00727-JRG-RSP        Document 155 Filed 07/07/16 Page 25 of 95 PagelD #: 5921




             7. An apparatus for conveying information related to groups of users, comprising:
                     an administrator system having access to object location information, zone
             information and object location event information associated with an information
             access code that specifies a user group associated with a plurality of user codes
             including I) a privileged user code that is different from the information access
             code and 2) a second user code that is different from the first user code and
             information access code; and
                     a server configured to interface with a network comprising a plurality of
             mobile devices associated with corresponding user identification codes, wherein
             the second user code is associated with a location information source of one of the
             mobile devices of the plurality of mobile devices based on the privileged user
             code; and wherein an object location information provided by the location
             information source is conveyed based on the information access code.

             On balance, no distinction is evident between "administrator" and "administrator system"

      that would warrant limiting "administrator" to a "user." See Edwards Lifesciences LLC v. Cook

      Inc., 582 F.3d 1322, 1330 (Fed. Cir. 2009) ("Different terms or phrases in separate claims may

      be construed to cover the same subject matter where the written description and prosecution

      history indicate that such a reading of the terms or phrases is proper.") (citation and internal

      quotation marks omitted).

             The Court therefore hereby expressly rejects Defendants' proposed construction,

      including Defendants' proposal of requiring a "user" and Defendants' argument that an

      "administrator" must be a person. No fmiher construction is necessary. See US. Surgical,

      103 F.3d at 1568; see also 02 Micro, 521 F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo,

      694 F.3d at 1326; Summit 6, 802 F.3d at 1291.

             The Court accordingly hereby construes "administrator" to have its plain meaning.

      E. "conveyance ... is managed based on an access list"

      Plaintiff's Proposed Construction                Defendants' Proposed Construction

     No construction necessaiy                         "conveyance is managed by ent1y of an access
                                                       code that specifies an access list"




                                                   - 25 -




                                                                                                  Exhibit "J"
                                                                                               Page 25 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 27 of 97



Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16            Page 26 of 95 PagelD #: 5922




   (Dkt. No. 86 at 17); (Dkt. No. 91 at 9); (Dkt. No. 97, App'x A at 29). Defendants submit that

   this disputed term appears in Claims 4, 9 and 10 of the '166 Patent. (Dkt. No. 61, Ex.Bat 19).

           Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

   the following preliminary construction: "Plain and ordinary meaning. / Expressly rejecting

   Defendants' proposed 'access code' limitation."

           (1) The Patties' Positions

           Plaintiff argues that "[t]his is a classic case of a defendant trying to improperly import a

   limitation from the specification into the claims." (Dkt. No. 86 at 18). Plaintiff submits that

   "[t]he claim language is clear: the info1mation is conveyed to a user if that user is included on the

   access list, and not conveyed if that user is not on the access list." (Id. at 17).

           Defendants respond that "[t]he specification provides only one reference to an 'access

   list,"' and "[i]n that reference, an access code is paramount." (Dkt. No. 91 at 9) (citing '931

   Patent at 8:4-14). Defendants argue that "[t]he specification never suggests the 'access list' may

   be alienated from the 'access code,' nor does it suggest the 'access list' itself is an 'access

   code."' (Dkt. No. 91 at 9).

           At the April 21, 2016 hearing, the parties did not present any oral argument as to this

   term.

           (2) Analysis

           Claims 4 and 8 of the '166 Patent recite (emphasis added):

           4. The method of claim 3, wherein conveyance of information related to
           locations of the mobile devices is managed based on an access list comprising a
           plurality of user identification codes, including a first user identification code
           associated with a first mobile device and a second identification code associated
           with a second mobile device, wherein information related to a location of the
           second mobile device is conveyed to the first mobile device based on a location
           information access privilege specified for an authorized user in a user group, and
           wherein the location information of the second mobile device is conveyed to a


                                                   - 26 -




                                                                                                              Exhibit "J"
                                                                                                           Page 26 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 28 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 27 of 95 PagelD #: 5923




             third mobile device associated with a third identification code different from the
             first and second user identification codes based on the location information access
             privilege specified for the authorized user.

              ***
             8. The system of claim 5, wherein conveyance of information related to locations
             of the mobile devices is managed based on an access list comprising a plurality of
             user identification codes, including a first user identification code associated with
             a first mobile device and a second identification code associated with a second
             mobile device.

      The specification discloses:

             Under still another arrangement, an access code specifies the individual users or
             groups having access to the information to which the access code is associated
             provided a given user knows the password. As such, the access code may specify
             one or more users and/or one or more groups that can enter the appropriate
             password in order to access the information. With this approach there are two
             conditions that must be met to gain access, being included on the access list, and
             having knowledge of the password allowing access to infmmation to be managed
             by changing the access list and/or changing the password.

      '931 Patent at 8:4-14 (emphasis added); see also id. at 7:37-8:23 ("access codes").

             Thus, although the specification discloses that an "access code" may be used, the claims

      recite an "access list" without reference to an "access code." On balance, use of an "access

      code" is a specific feature of pmiicular embodiments that should not be imported into the claims.

      See Comark, 156 F.3d at 1187; see also Phillips, 415 F.3d at 1323.

             The Court therefore expressly rejects Defendants' proposed construction. No fmiher

      construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521 F.3d at

      1362; Finjan, 626 F.3d at 1207; Active Video, 694 F.3d at 1326; Summit 6,802 F.3d at 1291.

             The Comi accordingly construes "conveyance ... is managed based on an access list"

     to have its plain meaning.




                                                    - 27 -




                                                                                                    Exhibit "J"
                                                                                                 Page 27 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 29 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 28 of 95 PagelD #: 5924




   F. Steps

           Defendants argue that various terms require performance of actual steps rather than

   merely configuration. Plaintiff replies that "the claim language dictates that these terms describe

   a characteristic of another object."     (Dkt. No. 94 at 10). The Court herein addresses the

   groupings of terms identified in the parties' briefing.

       (1) "associate with," "associates," "to associate one or more users that use the plurality
       of location information sharing environment[s] with each one of the plurality of user
       groups," and "associate at least one user identification code with each one of a plurality
       of group identification codes"

           Defendants have identified numerous te1ms in Appendix B to their responsive claim

   construction brief. See (Dkt. No. 91 at App'x B); see also (Dkt. No. 97 at App'x A).

           (a) The Parties' Positions

           Plaintiff argues that "the context of the term is clear from the claim language, and there is

   no special meaning given to the term in the intrinsic record." (Dkt. No. 86 at 19). Further,

   Plaintiff submits that "[i]n the more than 45 instances of the term Defendants have proposed for

   construction, only one instance requires an action of 'associating."'      (Id. at 20) (citing '166

   Patent at Cl. 23).

          Defendants respond: "Every Asserted Claim recites the term 'associate' in some f01m.

   That language must require proof of something for infringement: an affirmative step of

   association or, at a minimum, and [sic, an] actual state of association (i.e., the product of an

   actual step of association), as distinguished from the mere capability of forming an association."

   (Dkt. No. 91 at 16). Defendants also argue that "method claim [6 of the '012 Patent] expressly

   requires steps that cannot be performed until after the required association steps are completed."

   (Id. at 17). Defendants further argue that in Claims 4 and 19 of the '166 Patent, "[t]he tenn 'to

   associate' modifies 'configuring' and makes clear that the action constituting 'configuring' is the


                                                  - 28 -




                                                                                                              Exhibit "J"
                                                                                                           Page 28 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 30 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16         Page 29 of 95 PagelD #: 5925




      action of 'associating."' (Id.). As to Claim 17 of the '207 Patent, Defendants argue that "the

      claim states that location information is conveyed, after the recited associations are actually

      made and the authorized user interacts with the 'system."' (Id. at 18).

             At the April 21, 2016 hearing, Defendants argued that all of the terms at issue recite

      method steps. Plaintiff responded that the terms at issue are not method steps but rather are

      merely descriptive of particular claim elements. Plaintiff nonetheless acknowledged that the

      "associate" terms require actual configuration rather than mere capability. Also, as to the

      limitation "configuring the first information-sharing environment based on a first level of

      administrative privilege to associate one or more users that use the plurality of location

      information sharing environment with each one of the plurality of user groups" in Claim 1 of the

      '166 Patent, the parties disputed whether the "to associate" phrase modifies "configuring" or

      "administrative privilege."

             (b) Analysis

             Plaintiff has not argued that the "associate" terms should be read out of the claims, and

      Plaintiff acknowledges that the "associating" limitations recited in Claim 23 of the '166 Patent

      are steps that must be performed. (Dkt. No. 94 at 10 n.7); see (Dkt. No. 86, App'x A at p. 14

      #27). The remaining disputed terms require configuration as is evident from the context in

     which those terms are used.        See (Dkt. No. 86 at App'x A); see also Microprocessor

     Enhancement C01p. v. Tex. Instruments Inc., 520 F.3d 1367, 1375 (Fed. Cir. 2008) (noting that

     functionai claim language is permissible); cf Summit 6, 802 F.3d at 1291 (finding that the phrase

     "being provided to" was "not used as a verb" in the claim at issue but rather was "part of a

     phrase that conveys information about" a term).




                                                    - 29 -




                                                                                                 Exhibit "J"
                                                                                              Page 29 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 31 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 30 of 95 PagelD #: 5926




           As to the particular claims that have been addressed by Defendants, in Claim 6 of the

   '012 Patent the phrase "is associated" sets forth an attribute of the recited "second user

   identification code," and the "is conveyed" phrase recites that such conveyance is "based on the

   information access code." These limitations thus refer to configuration rather than actual method

   steps. Claim 18 of the '012 Patent is similar as to the word "associated." Claims 1, 4, and 19 of

   the '166 Patent and Claims 17 and 19 of the '207 Patent are also similar in this regard. For

   example, Claim 17 of the '207 Patent recites "an administrator device that associates ... ," but

   this merely sets f01ih a functional requirement rather than an actual method step. As to the flow

   chaiis in Figures 3-7 of the patents-in-suit, "patent coverage is not necessarily limited to

   inventions that look like the ones in the figures." MEO Labs. Inc. v. Becton, Dickinson & Co.,

   474 F.3d 1323, 1333 (Fed. Cir. 2007).

          Because Defendants have not presented specific arguments as to the remainder of the 45

   "associate" terms, the Court need not address each of those terms individually.

          The parties' dispute at the April 21, 2016 hearing as to the above-noted "configuring ...

   to associate" limitation (in Claim 1 of the '166 Patent) is illustrative of the inappropriateness of

   Defendants' proposal of construing the term "associate" categorically across all patents and

   claims. As to that specific dispute in Claim 1 of the '166 Patent, the Court hereby finds that the

  "to associate ... " phrase modifies "configuring." This is evident from the parallel structure of

  the "configuring . . . by specifying" limitation that follows the "configuring ... to associate"

  limitation in the claim. See Phillips, 415 F .3d at 1314 ("the claims themselves provide

  substantial guidance as to the meaning of particular claim terms"; "the context of the surrounding

  words of the claim also must be considered in determining the ordinary and customary meaning

  of those terms") (citations and internal quotation marks omitted).



                                                  - 30 -




                                                                                                             Exhibit "J"
                                                                                                          Page 30 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 32 of 97



   Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16 Page 31 of 95 PagelD #: 5927




               No fmiher constrnction is necessary.

          (2) "authorizes a first user"

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      No constrnction necessary                           Required step of authorizing a first user

      (Dkt. No. 61, Ex. A at 99); (id., Ex. B at 11); (Dkt. No. 97, App'x A at 1). Defendants submit

      that this disputed term appears in Claim 6 of the '012 Patent. (Dkt. No. 61, Ex.Bat 11).

               Shmily before the stmi of the April 21, 2016 hearing, the Court provided the pmiies with

      the following preliminary construction: "Requires that an administrator actually authorize a first

      user."

               (a) The Parties' Positions

               Plaintiff argues that this disputed term is merely descriptive of the "administrator" that

      "authorizes a first user with a first user identification code" in Claim 1 of the 'O12 Patent. (Dkt.

      No. 86 at 22).

               Defendants respond that this disputed term "is written in present tense and describes an

      active and ongoing step in which the administrator authorizes a first user." (Dkt. No. 91 at 19).

               At the April 21, 2016 hearing, Defendants argued that this authorizing must occur with or

      after the "interfacing." Plaintiff responded that "authorizes" is not a method step and could be

      done in advance.

               (b) Analysis

               Claim 1 of the '012 Patent recites (emphasis added):

               1. A method for conveying user location information, comprising:
                      interfacing with an administrator that authorizes a first user associated
               with a first user identification code to access an [sic] object location information
               from a location information source associated with a second user identification
               code that is different from the first identification code; and



                                                      - 31 -




                                                                                                         Exhibit "J"
                                                                                                      Page 31 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 33 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 32 of 95 PagelD #: 5928




                  conveying the object location information to a third user based on an
           information access code specified by said first user, said information access code
           being associated with a third user identification code that is different from the first
           and second user identification codes.

           This recital of "authorizes" does not refer to a mere capability or configuration for

   authorizing but rather sets f01ih an action performed by the administrator. Nonetheless, this does

   not give rise to a separate method step. Instead, this limitation is a condition on the claimed

   "administrator" in the "interfacing" step.

           The Court accordingly hereby finds that the te1m "authorizes a first user" is not a

   method step but requires that an administrator actually authorize a first user.

       (3) "to access an object location information from a location information source"

   Plaintiff's Proposed Construction                   Defendants' Proposed Construction

   No construction necessaiy                           Required step of accessing an object location
                                                       information source

   (Dkt. No. 61, Ex. A at 101); (id, Ex.Bat 11); (Dkt. No. 97, App'x A at 1). Defendants submit

   that this disputed te1m appears in Claim 6 of the '012 Patent. (Dkt. No. 61, Ex.Bat 11).

           Shortly before the start of the April 21, 2016 hearing, the Court provided the pa1iies with

   the following preliminary construction: "Refers to what is authorized rather than itself being a

   required method step."

          (a) The Parties' Positions

          Plaintiff submits that the limitation at issue is "h1terfacing with an administrator that

   authorizes a first user associated with a first user identification code to access an object location

   information fi·om a location information source associated with a second user identification

   code," and "the method step is not to access, but rather, it is 'inte1facing ... to access .... "'

   (Dkt. No. 86 at 22) (quoting '012 Patent at Cl. 1) (emphasis Plaintiff's).



                                                   - 32 -




                                                                                                              Exhibit "J"
                                                                                                           Page 32 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 34 of 97



   Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16           Page 33 of 95 PagelD #: 5929




              Defendants respond that this disputed term recites a step that "must occur before the

      'conveying ... ' steps can be completed" because "[ o]therwise, the claimed method would be

      inoperable." (Dkt. No. 91 at 20).

              At the April 21, 2016 hearing, the parties did not present any oral argument as to this

      term.

              (b) Analysis

              Claim 1 of the '012 Patent recites (emphasis added):

              1. A method for conveying user location information, comprising:
                       interfacing with an administrator that authorizes a first user associated
              with a first user identification code to access an object location information from
              a location information source associated with a second user identification code
              that is different from the first identification code; and
                       conveying the object location info1mation to a third user based on an
              information access code specified by said first user, said information access code
              being associated with a third user identification code that is different from the first
              and second user identification codes.

              This recital of "authorizes a first user ... to access ... object location information"

      relates to what is authorized rather than any actual accessing.

              The Court therefore hereby finds that the term "to access an object location

      information from a location information source" refers to what is authorized rather than

      itself being a required method step.

         (4) "specified by said first user"

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

     No construction necessary                            Required step of a first user specifying

      (Dkt. No. 61, Ex. A at 102); (id., Ex.Bat 11); (Dkt. No. 97, App'x A at 1). Defendants submit

     that this disputed term appears in Claim 6 of the '012 Patent. (Dkt. No. 61, Ex.Bat 11).




                                                      - 33 -




                                                                                                        Exhibit "J"
                                                                                                     Page 33 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 35 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 34 of 95 PagelD #: 5930




           Sh01tly before the start of the April 21, 2016 hearing, the Comt provided the patties with

   the following preliminary construction: "Refers to how an information access code has been

   specified rather than itself being a required method step."

           (a) The Parties' Positions

          Plaintiff submits that the limitation at issue is "conveying the object location information

   to a third user based on an information access code specified by said first user," and "[t]he action

   in this step is 'conveying the object location infonnation,"' such that "'specified by said first

   user' is not used as a verb, but is describing the 'information access code."' (Dkt. No. 86 at 22)

   (quoting '012 Patent at Cl. 1) (emphasis Plaintiffs).

          Defendants respond that this disputed te1m recites a step that "must occur before the

   'conveying .. .' steps can be completed" because "[o]therwise, the claimed method would be

   inoperable." (Dkt. No. 91 at 20).

          At the April 21, 2016 hearing, the patties argued this term together with the term

   "authorizes a first user" (addressed above).

          (b) Analysis

          Claim 1 of the '012 Patent recites (emphasis added):

           1. A method for conveying user location information, comprising:
                 interfacing with an administrator that authorizes a first user associated
          with a first user identification code to access an [sic] object location info1mation
          from a location information source associated with a second user identification
          code that is different from the first identification code; and
                 conveying the object location information to a third user based on an
          information access code specified by said first user, said information access code
          being associated with a third user identification code that is different from the first
          and second user identification codes.

          This recital of "specified by said first user" sets forth who specifies an information access

  code and requires an atu·ibute of having been thus specified, but this does not amount to a



                                                  - 34 -




                                                                                                             Exhibit "J"
                                                                                                          Page 34 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 36 of 97



   Case 2:15-cv-00727-JRG-RSP            Document 155 Filed 07/07/16      Page 35 of 95 PagelD #: 5931




      separate method step. The term "specified by said first user" recites a condition of the

      "information access code."

             The Court therefore hereby finds that "specified by said first user" refers to how an

      information access code has been specified rather than itself being a required method step.

          (5) "to define a relationship of an information package" and "to define an information
          package access code"


                           "to define a relationship of an information package"

      Plaintiff's Proposed Construction                 Defendants' Proposed Construction

      No construction necessary                         Required step of defining a relationship of an
                                                        information package


                             "to define an information package access code"

      Plaintiff's Proposed Construction                Defendants' Proposed Construction

      No construction necessary                        Required step of defining an information
                                                       [package] access code


      (Dkt. No. 61, Ex. A at 103-04); (id., Ex. B at 11); (Dkt. No. 97, App'x A at 15). Defendants

      submit that these disputed terms appear in Claims 23 and 27 of the '012 Patent. (Dkt. No. 61,

      Ex.Bat 11).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

     the following preliminary construction: "These te1ms recite actions that must be performed as

     part of providing the interface."




                                                   - 35 -




                                                                                                   Exhibit "J"
                                                                                                Page 35 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 37 of 97



Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16 Page 36 of 95 PagelD #: 5932




           (a) The Parties' Positions

           Plaintiff argues surrounding claim language demonstrates that "[t]he step is ... providing

   an interface, where the interface has the capability to define a relationship." (Dkt. No. 86 at 23)

   (citing '012 Patent at Cl. 18).

           Defendants respond that the claims at issue also "expressly require the step of 'conveying

   [an] information package to a second computing device ... based on [an] information package

   access code,"' and "in order for such a conveyance to be performed, someone must first interact

   with the 'interface' to define the information package and the information package access code."

   (Dlct.No. 91 at 20).

           At the April 21, 2016 hearing, the parties did not present any oral argument as to this

   tetm.

           (b) Analysis

           Claim 18 of the '012 Patent recites (emphasis added):

           18. A method for conveying info1mation among a plurality of computing devices
           associated with a plurality of users including a first user, a second user, and a
           third user, the method comprising:
                   providing an interface to a first computing device associated with the first
           user to define a relationship of an information package with at least one of a zone
           inf01mation, an object location information, or an object location event
           information and to define an information package access code;
                   conveying the info1mation package to a second computing device
           associated with one of the second user or the third user based on said information
           package access code.

           Because the "conveying" step involves "the information package" and is "based on said

   information package access code," and because the interface is recited as being provided to

   enable defining these, the "to define" limitations must be perf01med.




                                                  - 36 -




                                                                                                            Exhibit "J"
                                                                                                         Page 36 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 38 of 97



   Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16 Page 37 of 95 PagelD #: 5933




                The Court therefore hereby finds that "to define a relationship of an information

      package" and "to define an information package access code" recite actions that must be

      performed as part of providing the interface.

          (6) "are used to specify"

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      No construction necessary                           Required step of specifying

      (Dkt. No. 61, Ex. A at 119); (id., Ex.Bat 23); (Dkt. No. 97, App'x A at 32). Defendants submit

      that this disputed term appears in Claims 5, 9, 10, and 16 of the '166 Patent. (Dkt. No. 61, Ex. B

      at 23).

                Sh01tly before the start of the April 21, 2016 hearing, the Comi provided the parties with

      the following preliminary construction: "Plain and ordinary meaning. / Expressly rejecting

      Defendants' proposal that this term sets forth a required method step."

                (a) The Parties' Positions

                Plaintiff argues: "This claim language is in a wherein clause describing the second levels

      of administrative privilege. This language does not require actually specifying one or more

      levels of location information access privilege, but rather describes what the privileges are used

     for." (Dkt. No. 86 at 23) (citing '166 Patent at Cl. 5).

                Defendants respond that "[t]he phrase 'are used to specify' signifies an active step of

      specifying which is performed by a person with the requisite 'second level[] of administrative

     privilege."' (Dkt. No. 91 at 19).

                At the April 21, 2016 hearing, the paities did not present any oral argument as to this

     term.




                                                      - 37 -




                                                                                                     Exhibit "J"
                                                                                                  Page 37 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 39 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 38 of 95 PagelD #: 5934




           (b) Analysis

           Claim 5 of the '166 Patent recites (emphasis added):

           5. A system for conveying information related to locations of mobile devices
           associated with one or more object location sources that provide location
          infonnation for each mobile device comprising:
                  one or more user information databases storing a plurality of user
          identification codes associated with a plurality of mobile devices in a plurality of
          user groups;
                  one or more computing devices that create a plurality of information-
          sharing environments for users over a network comprising interfaces for
          configuring the plurality of information-sharing environments based on one or
          more varying levels of administrative privileges, said plurality of information-
          sharing environments comprising a first information-sharing environment and a
          plurality of second information-sharing environments within the first information-
          sharing environment, the first infonnation-sharing environment being
          configurable based on a first level of administrative privilege by associating one
          or more users with each one of a plurality of user groups, said plurality of second
          information-sharing environment comprising a plurality of location information
          sharing environments that are configurable for each user group independent of
          one another based on one or more second levels of administrative privilege,
          wherein the one or more second levels of administrative privilege are used to
          specify one or more levels of location information access privilege for at least one
          authorized user in each user group, wherein conveyance of information related to
          locations of the plurality of mobile devices is managed based [on] a plurality of
          location info1mation access privileges specified for a plurality of authorized users.

          In the context of this system claim as a whole, the disputed term refers to configuration

   rather than to an actual action that must be performed, see Microprocessor Enhancement, 520

   F.3d at 1375, cf Summit 6, 802 F.3d at 1291, particularly in light of the disputed te1m appearing

   in a "wherein" clause.

          The Court therefore hereby expressly rejects Defendants' proposed interpretation. No

   further construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521

   F.3d at 1362; Fin.Jan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d

   at 1291.




                                                 - 38 -




                                                                                                          Exhibit "J"
                                                                                                       Page 38 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 40 of 97



   Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16 Page 39 of 95 PagelD #: 5935




              The Court accordingly hereby construes "are used to specify" to have its plain

      meaning.

      G. Indefiniteness

              Plaintiff has submitted: "[Plaintiff] expects Defendants will not brief each and every one

      of these terms, just as [Plaintiff] does not expect Defendants will address every single term that

      they proposed ....   [Plaintiff] will therefore respond to Defendants' allegations in its reply brief."

      (Dkt. No. 86 at 23).

              Defendants have responded with arguments as set forth below.

          (1) "user identification codes" and "authorized user identification code"


                                          "user identification codes"
                                        ('012 Patent, Claims 6, 10, 12;
                                          '207 Patent, Claims 17, 19;
                                   '166 Patent, Claims 4, 5, 9, 10, 16, 19, 24;
                                      '499 Patent, Claims 1, 4, 5, 12, 17)

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      Not indefinite.                                     Indefinite

      No construction necessary. Or alternatively, a
      code that identifies a user.


                                    "authorized user identification code"
                                     ('499 Patent, Claims 1, 4, 5, 12, 17)

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      Not indefinite.                                     Indefinite

      No construction necessaiy.


      (Dkt. No. 61, Ex. A at 12 & 77); (id., Ex. B at 1 & 24); (Dkt. No. 91 at 20-21); (Dkt. No. 97,

      App'x A at 2, 53 & 57).

                                                      - 39 -




                                                                                                        Exhibit "J"
                                                                                                     Page 39 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 41 of 97



Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16        Page 40 of 95 PagelD #: 5936




           Shortly before the staii of the April 21, 2016 hearing, the Comi provided the parties with

   the following preliminary construction: "Plain and ordinaiy meaning. / Expressly rejecting

   Defendants' indefiniteness argument."

           (a) The Pa1iies' Positions

           Defendants argue that whereas "[t]hese 'codes' are used to identify a person as a user to a

   computer program," "the specification deviates from that meaning without providing guidance as

   to the scope of the term." (Dkt. No. 91 at 21). Defendants also submit that "Plaintiff's assertion

   that the 'user identification code' can be any ID or other code demonstrates there is no constraint

   on what can qualify as the 'user identification code."' (Id. at 22). Defendants further argue that

   the term "mobile object identification code" is indefinite for the same reasons. (Id. at 20 n.17);

   see (Dkt. No. 97, App'x A at 54 & 59).

           Plaintiff replies that contrary to Defendants' arguments, "there is nothing 'conflicting'

   about the notion that a user identification code may include a user account name or user number,

   and the notion that a database may store a user identification code together with a user account

   name and password." (Dkt. No. 94 at 5). "Moreover," Plaintiff argues, "the fact that the user

   identification code may include and/or be stored with other user information (such as an account

   name) does not vitiate the basic point that a user identification code is a code that identifies a

   user." (Id.).

           At the April 21, 2016 hearing, Defendants presented argument as to all of the "code"

   terms together. Defendants reiterated that the disclosures as to the various "codes" fail to

   describe the "code" terms with reasonable certainty. Defendants also submitted, for example,

  that whereas Plaintiff's infringement contentions refer to a license plate as a user identification

   code, a user is a person, not a vehicle.



                                                 - 40 -




                                                                                                            Exhibit "J"
                                                                                                         Page 40 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 42 of 97



   Case 2:15-cv-00727-JRG-RSP       Document 155 Filed 07/07/16          Page 41 of 95 PagelD #: 5937




            (b) Analysis

            Claim 1 of the '499 Patent, for example, recites (emphasis added):

             1. A system for conveying a plurality of event information associated with a
            corresponding plurality of events that occur based on satisfactions of a
            c01responding plurality of specified event conditions related to locations of a
            corresponding plurality of mobile objects having a corresponding plurality of
            mobile object identification codes, wherein each mobile object is associated with
            at least one location information source that provides a corresponding location
            information over a wireless network, said system comprising:
                    one or more computer servers configured to create a plurality of
            information-sharing environments, said plurality of information-sharing
            environments providing user interfaces for a plurality of authorized users over a
           network of computing devices, said plurality of authorized users being associated
            with a coD'esponding plurality of authorized user identification codes, wherein
            said plurality of information-sharing environments are configurable based on
           varying levels of administrator privileges, said vaiying levels of administrator
           privilege comprising a first level of administrator privilege associated with a
           network administrator and a second level of administrator privileges associated
           with said plurality of authorized users, said first level of administrator privilege
           being used in a first infonnation-sharing environment to allow for configuring a
           plurality of event inf01mation-sharing environments within said first inf01mation-
           sharing environment independent of one another, wherein said plurality of event
           info1mation-sharing environments are configurable based on said second levels of
           administrator privileges for specifying the plurality of specified event conditions;
                    one or more access control systems that are configured to communicates
           [sic] with said one or more computer servers to control access to the plurality of
           info1mation sharing environments, wherein access control to the plurality of
           info1mation sharing environments is based on access control codes requiring
           multiple levels of access control comprising a first level of access control and a
           second levels [sic] of access control, wherein access to said first inf01mation
           sharing environment is controlled under the first level of access control based on
           access control codes associated with the plurality of authorized user identification
           codes, wherein access to said event information sharing environments is
           controlled under the second level of access control to access the plurality of
           specified event conditions independent of each other based on a corresponding
           plurality of event inf01mation access codes that are associated with the plurality of
           authorized user identification codes; and
                   an administrator system in communication with said one or more
           computer servers adapted to configure a conesponding plurality of access
           privileges for the plurality of authorized users that specify the specified event
           conditions based on the plurality of event information access codes, wherein
           conveyance of the plurality of event information is managed based on the
           plurality of access privileges.



                                                  - 41 -




                                                                                                  Exhibit "J"
                                                                                               Page 41 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 43 of 97



Case 2:15-cv-00727-JRG-RSP            Document 155 Filed 07/07/16 Page 42 of 95 PagelD #: 5938




            Although Defendants argue that "there is no guidance in the claims or otherwise to

   distinguish an 'authorized user identification code' from a generic 'user identification code"'

   (Dkt. No. 91 at 21 n.18), the meaning of "authorized" in this context is sufficiently clear on its

   face, particularly in light of the recital of "a plurality of authorized users" in the above-quoted

   claim.

            As to "user identification code," the specification discloses that an example could be a

   user account name, but the specification also discloses a user account name as being distinct

   from a user identification code:

            In accordance with the present invention, the users of the computing devices each
            have user identification codes that can be associated with the computing devices
            in order to manage the conveyance of information to the computing devices based
            upon the identify [sic, identity] of the user and infonnation access privileges.
            Such user identification codes may be managed by a control station or may be
            established based on user unique user [sic] information. Such codes would
            typically include an identifier (e.g., a user account name or user number) and can
            be associated with one or more groups, and one or more information access
            privilege classifications, etc.

            ***
            Information maintained for a user typically includes a user account name and
            password and a user identification code, and may include a variety of information
            about the user including the user's name, address, phone number(s), email
            address(s), company name, title, bi1ih date, etc.

   '931 Patent at 6:64-7:7 & 12:67-13 :4 (emphasis added).

            Contrary to Defendants' arguments, no clear contradiction is apparent. Instead, the

   specification thus discloses that whereas in some embodiments a user identification code may be

   a user account name, in other embodiments the user identification code could be something other

  than (or in addition to) a user account name.

            Further, to the extent Defendants are arguing that these disputed terms are simply too

  broad, "[b]readth is not indefiniteness." In re Gardner, 427 F.2d 786, 788 (C.C.P.A. 1970); see

                                                  - 42 -




                                                                                                            Exhibit "J"
                                                                                                         Page 42 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 44 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 43 of 95 PagelD #: 5939




      O.S. Sec. LLC v. ERK Brands, Inc., No. SACV 14-00310 AG, 2015 WL 6511400, at *7 (C.D.

      Cal. Mar. 16, 2015) (Guilford, J.) ("the 'input code' terms, although broad, have a reasonably

      ce1iain scope" and "[t]hus they are not indefinite").

              The Court therefore expressly rejects Defendants' indefiniteness arguments. No further

      constmction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521 F.3d at

      1362; Fin.Jan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291.

      Defendants have cited Maytag C01p. v. Electrolux Home Prods., Inc., 411 F. Supp. 2d 1008

      (N.D. Iowa 2008), as authority for the proposition that constmction is required because

      "asse1iing that [the ordinaiy meaning of a term] should apply, without further construction,

      merely begs the question of what that meaning is." (Dkt. No. 91 at 3 n.3) (quoting Maytag, 411

      F. Supp. 2d at 1037-38). Maytag is not binding authority and, moreover, here the Court has

      resolved the paiiies dispute by rejecting Defendants' indefiniteness argument and Defendants'

      argument that the breadth of the "code" terms necessarily gives rise to a lack of reasonable

      certainty as to claim scope.

             The Comi accordingly hereby construes "user identification codes" and "authorized

      user identification code" to have their plain meaning.

         (2) "user codes," "first user code," and "privileged user code"


                                                "user codes"

     Plaintiff's Proposed Construction                   Defendants' Proposed Construction

     Not indefinite.                                     Indefinite

     No construction necessaiy. Or alternatively, a
     code that identifies a user.




                                                    - 43 -




                                                                                                Exhibit "J"
                                                                                             Page 43 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 45 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 44 of 95 PagelD #: 5940




                                            "first user code"

   Plaintiff's Proposed Construction                 Defendants' Proposed Construction

   Not indefinite.                                   Indefinite

   No construction necessary. Or alternatively, a
   code that identifies a first user.


                                        "privileged user code"

   Plaintiff's Proposed Construction                 Defendants' Proposed Construction

   Not indefinite.                                   Indefinite

   No construction necessary. Alternatively, a
   code that identifies a privileged user.


   (Dkt. No. 61, Ex. A at 71 & 75); (Dkt. No. 91 at 22); (Dkt. No. 97, App'x A at 10-11).

   Defendants submit that these disputed terms appear in Claims 9, 10 and 12 of the '012 Patent.

   (Dkt. No. 61, Ex.Bat 9-10).

          Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

   the following preliminary construction for "user code": "Plain and ordinary meaning. / Expressly

   rejecting Defendants' indefiniteness argument." The Court also provided the parties with the

   following preliminary constructions: "first user code" means "privileged user code"; and

   "privileged user code" means "code that identifies a privileged user."

          (a) The Parties' Positions

          Defendants argue that "[b ]ecause these different tenns are used in the same claim, they

   are presumed to have different meanings," but "'user code' is never used in the specification, and

  what distinguishes a 'user code' from a 'user identification code' is indeterminable." (Dkt.

  No. 91 at 22-23).

                                                 - 44 -




                                                                                                           Exhibit "J"
                                                                                                        Page 44 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 46 of 97



   Case 2:15-cv-00727-JRG-RSP              Document 155 Filed 07/07/16           Page 45 of 95 PagelD #: 5941




                 Plaintiff replies that "[t]he 'privileged user code' is also called a 'first user code' later in

      the claim, to distinguish it from the 'second user code' also recited in the claim." (Dkt. No. 94

      at 6-7).

                 At the April 21, 2016 hearing, the parties presented oral argument as to all of the "code"

      terms together.

                 (b) Analysis

                 Claim 7 of the '012 Patent recites (emphasis added):

             7. An apparatus for conveying information related to groups of users, comprising:
                     an administrator system having access to object location information, zone
             information and object location event information associated with an information
             access code that specifies a user group associated with a plurality of user codes
             including 1) a privileged user code that is different from the infonnation access
             code and 2) a second user code that is different from the first user code and
             info1mation access code; and
                     a server configured to interface with a network comprising a plurality of
             mobile devices associated with corresponding user identification codes, wherein
             the second user code is associated with a location information source of one of the
             mobile devices of the plurality of mobile devices based on the privileged user
             code; and wherein an object location inf01mation provided by the location
             inf01mation source is conveyed based on the information access code.

             Although "the first user code" lacks explicit antecedent basis, antecedent basis can be

      implicit. See Energizer Holdings Inc. v. Int'! Trade Comm 'n, 435 F.3d 1366, 1371 (Fed. Cir.

      2006) (holding that "an anode gel comprised of zinc as the active anode component" provided

      implicit antecedent basis for "said zinc anode"); see also Ex Parte Porter, 25 U.S.P.Q. 2d (BNA)

      1144, 1145 (B.P.A.I. 1992) ("The term 'the controlled fluid' ... finds reasonable antecedent

      basis in the previously recited 'controlled stream of fluid .... "'). On balance, "the first user

      code" has sufficiently clear antecedent basis in "a privileged user code." See id.




                                                         - 45 -




                                                                                                           Exhibit "J"
                                                                                                        Page 45 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 47 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 46 of 95 PagelD #: 5942




            Further, "privileged user code" is sufficiently clear on its face as meaning a code that

   identifies a privileged user, and the parties have not presented any substantive dispute as to the

   meaning of the word "privileged."

            As to the term "user codes," the above-quoted claim also recites "user identification

   codes," and generally "we must presume that the use of ...         different terms in the claims

   connotes different meanings." CAE Screenplates, Inc. v. Heinrich Fiedler GmbH & Co. KG, 224

   F.3d 1308, 1317 (Fed. Cir. 2000); see Primos, Inc. v. Hunter's Specialties, Inc., 451 F.3d 841,

   848 (Fed. Cir. 2006) ("[T]he terms 'engaging' and 'sealing' are both expressly recited in the

   claim and therefore 'engaging' cannot mean the same thing as 'sealing'; if it did, one of the

   tenns would be superfluous."); see also Chi. Bd. Options Exch., Inc. v. Int'! Sec. Exch., LLC, 677

   F.3d 1361, 1369 (Fed. Cir. 2012) (noting "[t]he general presumption that different terms have

   different meanings").

            Nonetheless, "it is not unknown for different words to be used to express similar

   concepts, even though it may be poor drafting practice." Bancorp Servs., L.L.C. v. Hartford Life

   Ins. Co., 359 F.3d 1367, 1373 (Fed. Cir. 2004). The Court therefore hereby expressly rejects

   Defendants' indefiniteness arguments.

            The Court accordingly hereby construes the disputed terms as set forth in the following

   chart:

                         Term                                         Construction

   "user codes"                                      Plain meaning

   "the first user code"                             "privileged user code"

   "privileged user code"                            "code that identifies a privileged user"




                                                 - 46 -




                                                                                                           Exhibit "J"
                                                                                                        Page 46 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 48 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 47 of 95 PagelD #: 5943




          (3) "group identification codes"

      Plaintiff's Proposed Construction                  Defendants' Proposed Construction

      Not indefinite.                                    Indefinite

      No construction necessary. Alternatively, a
      code that identifies a group.

      (Dkt. No. 61, Ex. A at 95); (Dkt. No. 91 at 23); (Diet. No. 97, App'x A at 29). Defendants

      submit that this disputed term appears in Claims 4 and 19 of the '166 Patent and Claims 12 and

      17 of the '499 Patent. (Dkt. No. 61, Ex.Bat 15).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

      the following preliminary construction: "Plain and ordinaiy meaning. / Expressly rejecting

      Defendants' indefiniteness argument."

             (a) The Parties' Positions

             Defendants argue that this disputed tenn is indefinite for the same reasons as for the term

      "user identification code," which is addressed above. (Diet.No. 91 at 23).

             At the April 21, 2016 hearing, the paiiies presented oral argument as to all of the "code"

      terms together.

             (b) Analysis

             Claim 19 of the '166 Patent, for example, recites (emphasis added):

             19. A method for conveying information relating to location of mobile devices
             associated with one or more object location sources that provide location
             information for each mobile device comprising:
                     storing in one or more user information databases user identification codes
             associated with a plurality of mobile devices;
                     creating a plurality of information-sharing environments for users over a
             network of computing devices comprising interfaces for configuring the plurality
             of information-sharing environments based on one or more vaiying levels of
             administrative privileges, said information-sharing environments comprising a
             first information-sharing environment and a plurality of second information-
             sharing environments that exist independent of each other, said plurality of second


                                                    - 47 -




                                                                                                      Exhibit "J"
                                                                                                   Page 47 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 49 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 48 of 95 PagelD #: 5944




          information-sharing environments compnsmg a plurality of independently
          configurable location information sharing environments within the first
          info1mation-sharing environment;
                  configuring the first information-sharing environment based on a first
          level of administrative privilege comprising a privilege to associate at least one
          user identification code with each one of a plurality of group identification codes;
                  configuring each one of the plurality of location information-sharing
          environments for each one of the plurality of group identification codes
          independent of one another based on a second level of administrative privilege
          that comprises at least one location information access privilege specified for an
          authorized of a [sic] user group; and
                  managing conveyance of inf01mation related to location of the plurality of
          mobile devices based [on] a plurality of location information access privileges
          specified for a plurality of authorized users.

          The claim thus distinctly recites "user identification codes" and "group identification

   codes," and Defendants have not explained how this distinction is purpmiedly unclear. The

   Court therefore hereby expressly rejects Defendants' indefiniteness arguments. No further

   construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521 F.3d

   at 1362; Finjan, 626 F.3d at 1207; Active Video, 694 F.3d at 1326; Summit 6,802 F.3d at 1291.

          The Comi accordingly hereby construes "group identification codes" to have its plain

   meaning.

      (4) "information access code" and "information package access code"


                                     "information access code"
                                     ('012 Patent, Claims 6, 9;
                                 '499 Patent, Claims 1, 4, 5, 12, 17)

   Plaintiff's Proposed Construction                Defendants' Proposed Construction

  Not indefinite.                                   Indefinite

  No construction necessary. Or alternatively, a
  code for controlling access to information.




                                                - 48 -




                                                                                                       Exhibit "J"
                                                                                                    Page 48 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 50 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 49 of 95 PagelD #: 5945




                                     "information package access code"
                                         ('012 Patent, Claims 23, 27)

      Plaintiff's Proposed Construction                   Defendants' Proposed Construction

      Not indefinite.                                     Indefinite

      No constmction necessary. Or alternatively, a
      code for controlling access to an infonnation
      package.


      (Dkt. No. 61, Ex. A at 46--47); (id., Ex. B at 2 & 7); (Dkt. No. 91 at 23); (Dkt. No. 97, App'x A

      at 2 & 17).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

      the following preliminary constructions: "information access code'' means "a code for

      controlling access to information"; and "information package access code" means "a code for

      controlling access to an information package."

             (a) The Parties' Positions

             Defendants argue that whereas "[a] POSA [(person of ordinary skill in the mi)] would

      have understood the te1m 'access code' to be a 'password,"' here the specification and the

      prosecution history demonstrate that "the Plaintiff intended to deviate from this common usage."

      (Dkt. No. 91 at 24). Nonetheless, Defendants urge, "the specification ... deviate[s] from the

      customary meaning of information access code without describing to a reasonable ce1iainty what

      scope the te1m should have." (Id.).

             Plaintiff replies that the plain meaning of these terms is sufficiently clear and is consistent

      with how the patentee used these terms. (Dkt. No. 94 at 6). Also, Plaintiff argues, Defendants

      have failed to show that "access code" would be understood in the mi as synonymous with




                                                     - 49 -




                                                                                                       Exhibit "J"
                                                                                                    Page 49 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 51 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16            Page 50 of 95 PagelD #: 5946




   "password" or that the patentee used "infom1ation access code" to mean anything broader than

   "a code for controlling access to information." (Id.).

          At the April 21, 2016 hearing, Defendants reiterated that whereas the specification

   discloses an embodiment in which an "information access code" is a password, during

   prosecution the patentee distinguished a password from an "information access code."

   Defendants concluded that this contradiction gives rise to lack of reasonable certainty and,

   therefore, indefiniteness. Plaintiff responded that Defendants' argument is based on a false

   assumption that an "information access code" is limited to being a password. As to "information

   package access code," Defendants argued that the term lacks reasonable certainty because there

   is no way to dete1mine whether, or how, this term differs from "information access code."

          (b) Analysis

          Claim 18 of the '012 Patent, for example, recites (emphasis added):

          18. A method for conveying information among a plurality of computing devices
          associated with a plurality of users including a first user, a second user, and a
          third user, the method comprising:
                  providing an interface to a first computing device associated with the first
          user to define a relationship of an information package with at least one of a zone
          information, an object location information, or an object location event
          information and to define an information package access code;
                  conveying the information package to a second computing device
          associated with one of the second user or the third user based on said info1mation
          package access code.

   The specification discloses that an "access code" can be a password:

          Under another arrangement, an access code is assigned to information in the f01m
          of a user-defined access code (i.e., a pass,vord) that a given user must have
          knowledge of in order to be granted access to the inf01mation. With this
          approach, the user associating the access code with inf01mation defines the user-
          defined access code and then conveys the user-defined access code to other
          trusted users to which the user desires to have access to the information. Those
          trnsted users must enter the access code into their computing devices in order to
          be granted access to the information.



                                                 - 50 -




                                                                                                        Exhibit "J"
                                                                                                     Page 50 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 52 of 97



   Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16          Page 51 of 95 PagelD #: 5947




          '931 Patent at 7:61-8:3 (emphasis added).

                 During prosecution of parent United States Patent No. 7,525,425 ("the '425 Patent"),7

      however, the patentee distinguished an "information access code" from a password while

      discussing the "Irish" reference, United States Patent No. 6,691,032:

                 ... Irish does no[t] teach or suggest an access codes [sic], as conceded by the
                Action. The Action, however, argues that "access codes are no more than
                 conventional pass words data that allow that allow [sic] user 18 access to certain
                 authorized information." This argument is incorrectly premised on equating the
                claimed requirement for the information access code with pass words for users.
                As is well known by artisans, pass words are often selected by the users
                themselves to allow authorized access to information. If a user in the game
                system disclosed in Irish is given a pass word to prevent access to the user's
                location information, the game would not work. Therefore, one of ordinary skill
                in the ati would have no reasons to pass word protect the user location
                information in Irish's game. According to the present invention, however, the
                required information access code are [sic] associated with the second user
                specifically to prevent unauthorized conveyance of information relating to the
                objects to unauthorized users. Based on the foregoing it is respectfully submitted
                that Irish does not teach or suggest 1) associating an information access code with
                info1mation relating to an object 2) associating the information access code with a
                second user and 3) conveying information relating to the object based on the
                association.

      (Dkt. No. 91, Ex. 6) (Nov. 24, 2008 Amendment in Response to Non-Final Office Action at 9-

      10) (emphasis added).

                Nonetheless, this statement that a password is not equivalent to an access code does not

      amount to a definitive statement that the term "access code" cannot encompass a password. See

      Omega Eng,g v. Raytek Co1p., 334 F.3d 1314, 1324 (Fed. Cir. 2003) ("As a basic principle of

      claim interpretation, prosecution disclaimer promotes the public notice function of the intrinsic

      evidence and protects the public's reliance on definitive statements made during prosecution.")


      7
        All of the patents-in-suit are related to the '425 Patent through continuations. See Microsoft
      C01p. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1349 (Fed. Cir. 2004) ("the prosecution history of
      one patent is relevant to an understanding of the scope of a common term in a second patent
      stemming from the same parent application").

                                                      - 51 -




                                                                                                     Exhibit "J"
                                                                                                  Page 51 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 53 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 52 of 95 PagelD #: 5948




   (emphasis added); see also Golight, Inc. v. Wal-Mart Stores, Inc., 355 F.3d 1327, 1332 (Fed. Cir.

   2004) ("Because the statements in the prosecution history are subject to multiple reasonable

   interpretations, they do not constitute a clear and unmistakable depaiiure from the ordinary

   meaning of the term .... ").

            Likewise, the specification discloses that a password may be required in addition to an

   access code:

            Under still another arrangement, an access code specifies the individual users or
            groups having access to the information to which the access code is associated
            provided a given user knows the password. As such, the access code may specify
            one or more users and/or one or more groups that can enter the appropriate
            password in order to access the information. With this approach there are two
            conditions that must be met to gain access, being included on the access list and
            having knowledge of the password allowing access to information to be managed
            by changing the access list and/or changing the password.

   '931 Patent at 8:4-14; see id. at 8:15-21 (similar); see also id. at 7:37-8:23.

            Thus, although the specification distinguishes between access codes and passwords, this

   disclosure confirms that the tenn "access code" is potentially broader than a password and may

   merely be used in conjunction with a password. Indeed, a technical dictionary submitted by

   Defendants defines "access code" as meaning: "an identification number or password used to

   gain access to a computer system." (Dkt. No. 91, Ex. 2) (Webster's New World Computer

   Dictionary 8 (10th ed. 2003)) (emphasis added).

            The Comi accordingly hereby construes the disputed terms as set f01ih in the following

   chart:

                         Term                                            Construction

   "information access code"                          "a code for controlling access to
                                                      information"




                                                  - 52 -




                                                                                                         Exhibit "J"
                                                                                                      Page 52 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 54 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 53 of 95 PagelD #: 5949




      "information package access code"                    "a code for controlling access to an
                                                           information package"


          (5) "access control codes," "access control codes requiring multiple levels of access
          control," and "access control codes associated with the plurality of authorized user
          identification codes"

      Plaintiff's Proposed Construction                    Defendants' Proposed Construction

      Not indefinite.                                      Indefinite

      No construction necessaiy. Alternatively,
      codes for controlling access.

      (Dkt. No. 61, Ex. A at 123-24); (Dkt. No. 91 at 24); (Dkt. No. 97, App'x A at 56). Defendants

      submit that these disputed terms appear in Claims 1, 4, 5, 12, and 17 of the '499 Patent. (Dkt.

      No. 61, Ex.Bat 27).

              Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

      the following preliminary construction: "Plain and ordinary meaning. / Expressly rejecting

      Defendants' indefiniteness argument."

              (a) The Parties' Positions

             Defendants submit that whereas surrounding claim language demonstrates that "access

      control codes" are for controlling access to information sharing environments, "the specification

      never describes 'access control codes' for accessing the environments themselves, only access to

      certain information within the environment."         (Dkt. No. 91 at 25). Defendants argue that

      "[w]hen read in view of the corresponding disclosure, a POSA [(person of ordinaiy skill in the

      mi)] is unable to determine with reasonable ce1iainty whether the claim is proposing that the

      'access control code' prompts access to information (as described in the specification) or the

      environment (as recited in the claim)." (Id.).




                                                       - 53 -




                                                                                                     Exhibit "J"
                                                                                                  Page 53 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 55 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 54 of 95 PagelD #: 5950




          Plaintiff replies that "this is a distinction without a difference. The information-sharing

   environment is where location information is conveyed." (Dkt. No. 94 at 7).

          At the April 21, 2016 hearing Defendants submitted that, whereas Plaintiff is proposing

   that these terms refer to controlling access to infonnation, the claims refer to controlling access

   to environments. Defendants urged that this inconsistency gives rise to indefiniteness. Plaintiff

   responded that the specification discloses various codes for controlling various types of access,

   and the analysis should focus on the language of each claim.

          (b) Analysis

          Claim 1 of the '499 Patent recites (emphasis added):

           1. A system for conveying a plurality of event information associated with a
          corresponding plurality of events that occur based on satisfactions of a
          corresponding plurality of specified event conditions related to locations of a
          corresponding plurality of mobile objects having a corresponding plurality of
          mobile object identification codes, wherein each mobile object is associated with
          at least one location information source that provides a co1responding location
          information over a wireless network, said system comprising:
                  one or more computer servers configured to create a plurality of
          information-sharing environments, said plurality of information-sharing
          environments providing user interfaces for a plurality of authorized users over a
          network of computing devices, said plurality of authorized users being associated
          with a corresponding plurality of authorized user identification codes, wherein
          said plurality of information-sharing environments are configurable based on
          vaiying levels of administrator privileges, said varying levels of administrator
          privilege comprising a first level of administrator privilege associated with a
          network administrator and a second level of administrator privileges associated
          with said plurality of authorized users, said first level of administrator privilege
          being used in a first infonnation-sharing environment to allow for configuring a
          plurality of event information-sharing environments within said first information-
          sharing environment independent of one another, wherein said plurality of event
          information-sharing environments are configurable based on said second levels of
          administrator privileges for specifying the plurality of specified event conditions;
                  one or more access control systems that are configured to communicates
          [sic] with said one or more computer servers to control access to the plurality of
          information sharing environments, wherein access control to the plurality of
          information sharing environments is based on access control codes requiring
          multiple levels of access control comprising a first level of access control and a
          second levels [sic] of access control, wherein access to said first information


                                                 - 54 -




                                                                                                            Exhibit "J"
                                                                                                         Page 54 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 56 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 55 of 95 PagelD #: 5951




             sharing environment is controlled under the first level of access control based on
             access control codes associated with the plurality of authorized user identification
             codes, wherein access to said event information sharing environments is
             controlled under the second level of access control to access the plurality of
             specified event conditions independent of each other based on a corresponding
             plurality of event infonnation access codes that are associated with the plurality of
             authorized user identification codes; and
                     an administrator system in communication with said one or more
             computer servers adapted to configure a corresponding plurality of access
             privileges for the plurality of authorized users that specify the specified event
             conditions based on the plurality of event information access codes, wherein
             conveyance of the plurality of event information is managed based on the
             plurality of access privileges.

      The specification discloses:

             Briefly, the present invention relates to conveying info1mation relating to an
             object to one or more users. The invention requires defining a zone by the one or
             more users. An event is also defined in te1ms of a condition related to a
             relationship between an object location and the zone. The condition can relates
             [sic] to entry by the object into the zone, exit by the object from the zone, or
             proximity of the object to the zone[.] Upon meeting the condition, info1mation
             regarding the event is conveyed to the at least one of the one or more users. The
             one or more users can access at least one of the location info1mation, inf 01mation
             relating to the zone or conveyed information regarding the event using one or
             more access control codes. The access control codes can be configured to require
             multiple levels of access control.

      '931 Patent at 1:61-2:7 (emphasis added).

             This above-quoted disclosure sufficiently demonstrates that "access control codes" are

      codes for controlling access. Because this is also clear from the claim language itself, no

      construction is necessary.     Further, contrary to Defendants' arguments, the above-quoted

      surrounding claim language that refers to information sharing environments (rather than simply

     info1mation) does not give rise to any contradiction or inconsistency.          Instead, the claim

     language merely sets forth the nature of the access that is at issue.

             The Court therefore hereby expressly rejects Defendants' indefiniteness arguments. No

     further construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521



                                                     - 55 -




                                                                                                    Exhibit "J"
                                                                                                 Page 55 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 57 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 56 of 95 PagelD #: 5952




   F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d

   at 1291.

           The Court accordingly hereby construes "access control codes," "access control codes

   requiring multiple levels of access control," and "access control codes associated with the

   plurality of authorized user identification codes" to have their plain meaning.

       (6) Conveying or Managing Conveyance Based on Something other than Information
       Access Codes

          The disputed terms here at issue are set forth in Appendix A to Defendants' responsive

   brief (Dkt. No. 91 at App'x A) and are: "conveyed ...          based on an authorization by the

   authorized user," "managing conveyance ...        based on a plurality of [location] information

   access privileges associated with a plurality of authorized users," "managing conveyance .

   based [on] a plurality of location information access privileges specified for a plurality of

   authorized users," "conveyance ...    is managed based [on] a plurality of location information

   access privileges specified for a plurality of authorized users," "conveyed ... based on a location

   information access privilege specified for an authorized user," and "conveyance ... is managed

   based on the plurality of access privileges." See also (Dkt. No. 97 at App'x A).

          Shortly before the staii of the April 21, 2016 hearing, the Court provided the parties with

   the following preliminary construction: "Plain and ordina1y meaning. / Expressly rejecting

   Defendants' indefiniteness argument."

          (a) The Parties' Positions

          Defendants argue that "[t]he specification only contemplates conveyance and managing

   conveyance of information based on 'user identification codes' and 'information access codes."'

   (Dkt. No. 91 at 25). Defendants further urge that "conveyance based on broad, abstract concepts

  of 'authorization' and 'privileges' is never described in the specification, and is broader than


                                                 - 56 -




                                                                                                            Exhibit "J"
                                                                                                         Page 56 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 58 of 97



   Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16          Page 57 of 95 PagelD #: 5953




      what is envisioned by the specification, leaving a POSA [(person of ordinary skill in the art)]

      unable to ascertain the scope of such conveyance." (Id. at 26).

               Plaintiff replies that "this is not an indefiniteness argument at all. By arguing that these

      claim elements are unsupported by the specification, Defendants are really making a written

      description argument, which should be presented via a summary judgment motion or at trial."

      (Dkt. No. 94 at 8).

               At the April 21, 2016 hearing, the parties did not present any oral argument as to these

      te1ms.

               (b) Analysis

               Defendants' arguments that what is claimed is "broader than what is envisioned by the

      specification" (Dkt. No. 91 at 25) may perhaps relate to issues such as enablement or written

      description but are not relevant in the present claim construction proceedings. See Phillips, 415

      F.3d at 1327 ("we have certainly not endorsed a regime in which validity analysis is a regular

      component of claim construction").

               During prosecution of the parent '425 Patent, the patentee distinguished the "Irish"

      reference based on lack of use of access codes. (Dkt. No. 91, Ex. 6) (Nov. 24, 2008 Amendment

      in Response to Non-Final Office Action at 9-10) (emphasis added). Defendants have not

      demonstrated, however, that the same claim language was at issue in that prosecution history as

      is at issue here. Instead, the document cited by Defendants sets forth claim language explicitly

      reciting use of access codes. See (id. at 2, 6).

               The Court therefore hereby expressly rejects Defendants' indefiniteness arguments. No

     further construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521




                                                         - 57 -




                                                                                                     Exhibit "J"
                                                                                                  Page 57 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 59 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 58 of 95 PagelD #: 5954




   F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d

   at 1291.

           The Court accordingly hereby constrnes "conveyed ...      based on an authorization by

   the authorized user," "managing conveyance ...              based on a plurality of [location]

   information access privileges associated with a plurality of authorized users," "managing

   conveyance . .. based [on] a plurality of location information access privileges specified for

   a plurality of authorized users," "conveyance ...        is managed based [on] a plurality of

   location information access privileges specified for a plurality of authorized users,"

   "conveyed ... based on a location information access privilege specified for an authorized

   user," and "conveyance ... is managed based on the plurality of access privileges" to have

   their plain meaning.

       (7) "levels of location information access privilege"

   Plaintifrs Proposed Construction                  Defendants' Proposed Construction

   "a hierarchy of privileges for accessing          Indefinite
   location information"


   (Dkt. No. 86 at 11); (Dkt. No. 91 at 26); (Dkt. No. 97, App'x A at 25). Defendants submit that

   this disputed term appears in Claims 4, 5, 9, 10, and 16 of the '166 Patent. (Dkt. No. 61, Ex.Bat

   16).

          Shortly before the stmi of the April 21, 2016 hearing, the Comi provided the parties with

  the following preliminary constrnction: "Plain and ordinary meaning. / Expressly rejecting

  Plaintiffs proposal of 'hierarchy'/ Expressly rejecting Defendants' indefiniteness argument."




                                                 - 58 -




                                                                                                          Exhibit "J"
                                                                                                       Page 58 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 60 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16         Page 59 of 95 PagelD #: 5955




              •(a) The Parties' Positions

              Defendants argue that whereas "the claims themselves distinguish between privileges for

      'authorized users' and 'administrators,' and thus a POSA [(person of ordinary skill in the art)]

      would understand there must be a difference between the two," this disputed term has "no

      generally accepted definition," and "the specification provides no guidance on how multiple

      levels of 'location access privilege' for a single authorized user could be 'specified."'     (Dkt.

      No. 91 at 26-27).

              Plaintiff replies that "this term plainly connotes how according to the level of access

      privilege(s) assigned, users are able to access ce1iain information that other users with lower or

      without access privileges are unable to access."       (Dkt. No. 94 at 8) (citation and internal

      quotation marks omitted).

              At the April 21, 2016 hearing, the paiiies did not present any oral argument as to this

      tenn.

              (b) Analysis

              Claim 1 of the '166 Patent, for example, recites (emphasis added):

               1. A method for conveying information related to locations of a plurality of
              mobile devices of users in a plurality of user groups, comprising:
                       creating a plurality of inf01mation-sharing environments over a network of
              computing devices comprising interfaces for configuring the plurality of
              information-sharing environments for users based on vaiying levels of
              administrative privileges, wherein the plurality of information-sharing
              environments comprise a first information-sharing environment and a plurality of
              second inf01mation-sharing environments, said plurality of second info1mation-
              sharing environments comprising a plurality of independently configurable
              location information sharing environments created within the first information
              sharing environment;
                      configuring the first information-sharing environment based on a first
              level of administrative privilege to associate one or more users that use the
              plurality of location information sharing environment with each one of the
              plurality of user groups;



                                                    - 59 -




                                                                                                     Exhibit "J"
                                                                                                  Page 59 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 61 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 60 of 95 PagelD #: 5956




                   configuring each one [ofl the plurality of location information-sharing
           environments for each user group independent of one another based on at least
           one second level of administrative privilege by speci./jling one or more levels of
           location information access privilege for at least one authorized user in each user
           group; and
                  managing conveyance of information related to location of the plurality of
           the mobile devices in the plurality of user groups based on a plurality of location
           infonnation access privileges associated with a plurality of authorized users.

   The specification discloses:

           Because smaller information-sharing environments can exist within larger
           information-sharing information environments, various levels of administrator
           privileges can exist.

   '931 Patent at 5:51-54. Although this disclosure refers to "administrator privileges" rather than

   location information access privileges, this disclosure is nonetheless instructive as to the

   significance of using multiple levels of privileges.

          Fmther, although Defendants argue that "it is unclear how an 'authorized user' can have

   more than one level of privilege in a user group, as the specification suggests the privilege for the

   user is tied to the group with which the user is associated" (Dkt. No. 91 at 26-27), Defendants

   have not identified any persuasive evidence that wmrnnts precluding a user from having multiple

   levels of location infonnation access privilege.

          As to Plaintiffs proposal of a "hierarchy," however, Plaintiff has not demonstrated that

   the existence of multiple "levels" necessarily requires a hierarchical organization.

          The Comi therefore hereby expressly rejects Plaintiffs proposed construction as well as

   Defendants' proposed construction. No further construction is necessary. See US. Surgical,

   103 F.3d at 1568; see also 02 Micro, 521 F.3d at 1362; Finjan, 626 F.3d at 1207; Active Video,

   694 F.3d at 1326; Summit 6, 802 F.3d at 1291.

          The Court therefore hereby construes "levels of location information access privilege"

  to have its plain meaning.


                                                  - 60 -




                                                                                                              Exhibit "J"
                                                                                                           Page 60 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 62 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 61 of 95 PagelD #: 5957




          (8) "grouping configurations"

      Plaintiff's Proposed Construction                    Defendants' Proposed Construction

      Not indefinite.                                     Indefinite

      No construction necessary.

      (Diet. No. 61, Ex. A at 98); (Dkt. No. 91 at 27); (Dkt. No. 97, App'x A at 59). Defendants

      submit that this disputed term appears in Claims 12 and 17 of the '499 Patent. (Dkt. No. 61, Ex.

      Bat 25).

             Sh01ily before the start of the April 21, 2016 hearing, the Comi provided the parties with

      the following preliminary construction: "Claim 6 of the '499 Patent is indefinite because 'said

      plurality of specified event configurations' lacks sufficiently clear antecedent basis in Claim 1."

             (a) The Patiies' Positions

             Defendants argue: "The te1m 'grouping configurations' is never recited in the

      specification. It is entirely unclear what 'grouping configurations associated with said plurality

      of specified event configurations' means within the claims." (Dkt. No. 91 at 27) (footnote

      omitted).

             Plaintiff replies that "[ c]ontrary to Defendants' argument, the claim language shows that

     this te1m refers to configurations by which ce1iain authorized user ID codes or mobile object ID

      codes are associated with certain group ID codes for certain events." (Dkt. No. 94 at 8). "For

      example," Plaintiff argues, "different events will cause location information to be sent to

      different groups, depending on which authorized user and mobile object ID codes are associated

     with which groups for that event." (Id. at 9).

             At the April 21, 2016 hearing, the patiies did not present any oral argument as to this

     term.



                                                      - 61 -




                                                                                                     Exhibit "J"
                                                                                                  Page 61 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 63 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16         Page 62 of 95 PagelD #: 5958




          (b) Analysis

          " [A] claim could be indefinite if a term does not have proper antecedent basis where such

   basis is not otherwise present by implication or the meaning is not reasonably ascertainable."

   Halliburton Energy Servs., Inc. v. M-1 LLC, 514 F.3d 1244, 1249 (Fed. Cir. 2008).

          Claims 6 and 11 of the '499 Patent depend from Claim 1. Claims 1, 6, and 11 recite

   (emphasis added):

           1. A system for conveying a plurality of event information associated with a
           corresponding plurality of events that occur based on satisfactions of a
          c01Tespondingplurality of specified event conditions related to locations of a
          corresponding plurality of mobile objects having a corresponding plurality of
          mobile object identification codes, wherein each mobile object is associated with
          at least one location information source that provides a c01Tespondinglocation
          information over a wireless network, said system comprising:
                  one or more computer servers configured to create a plurality of
          information-sharing environments, said plurality of information-sharing
          environments providing user interfaces for a plurality of authorized users over a
          network of computing devices, said plurality of authorized users being associated
          with a corresponding plurality of authorized user identification codes, wherein
          said plurality of information-sharing environments are configurable based on
          varying levels of administrator privileges, said varying levels of administrator
          privilege comprising a first level of administrator privilege associated with a
          network administrator and a second level of administrator privileges associated
          with said plurality of authorized users, said first level of administrator privilege
          being used in a first information-sharing environment to allow for configuring a
          plurality of event information-sharing environments within said first info1mation-
          sharing environment independent of one another, wherein said plurality of event
          info1mation-sharing environments are configurable based on said second levels of
          administrator privileges for specifying the plurality of specified event conditions;
                  one or more access control systems that are configured to communicates
          [sic] with said one or more computer servers to control access to the plurality of
          inf01mation sharing environments, wherein access control to the plurality of
          info1mation sharing environments is based on access control codes requiring
          multiple levels of access control comprising a first level of access control and a
          second levels [sic] of access control, wherein access to said first information
          sharing environment is controlled under the first level of access control based on
          access control codes associated with the plurality of authorized user identification
          codes, wherein access to said event information sharing environments is
          controlled under the second level of access control to access the plurality of
          specified event conditions independent of each other based on a corresponding



                                                - 62 -




                                                                                                          Exhibit "J"
                                                                                                       Page 62 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 64 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 63 of 95 PagelD #: 5959




             plurality of event information access codes that are associated with the plurality of
             authorized user identification codes; and
                     an administrator system in communication with said one or more
             computer servers adapted to configure a corresponding plurality of access
             privileges for the plurality of authorized users that specify the specified event
             conditions based on the plurality of event information access codes, wherein
             conveyance of the plurality of event information is managed based on the
             plurality of access privileges.

              ***

             6. The system of claim 1, further comprising one or more databases accessible by
             the one or more computer servers adapted to store a plurality of identification
             codes comprising said plurality of authorized user identification codes and mobile
             object identification codes, wherein said plurality of identification codes are
             associated with a plurality of user group identification codes in the one or more
             data bases under a plurality of grouping configurations associated with said
             plurality of specified event configurations for the plurality of mobile objects.

             ***

             11. The system of claim 6, wherein said plurality of grouping configurations are
             user specified.

             Because "said plurality of specified event configurations" in Claim 6 lacks sufficiently

      clear antecedent basis (in Claim 6 itself or in Claim 1, from which Claim 6 depends), Claim 6 of

      the '499 Patent is indefinite.

         (9) Dependent Claims 6, 8, and 9 of the '012 Patent

             Sho1ily before the start of the April 21, 2016 hearing, the Court provided the paiiies with

      the following preliminmy construction: "Not indefinite under 35 U.S.C. § 112(4)."

             (a) The Parties' Positions

             Defendants argue that "[d]ependent claims 012:6, 8, and 9 actually broaden the claims

      from which they depend (claims 1 and 7)" and are therefore indefinite. (Dkt. No. 91 at 27).

      Specifically, Defendants submit that whereas "independent claim 1 and 7 explicitly recite that




                                                    - 63 -




                                                                                                    Exhibit "J"
                                                                                                 Page 63 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 65 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 64 of 95 PagelD #: 5960




   'object location information' is conveyed," "dependent claims 6, 8, and 9 are implicated if only

   zone or event information is conveyed." (Dkt. No. 91 at 27).

          Plaintiff replies: "Defendants do not contest that the dependent claims add other

   limitations that narrow these claims. Thus, each dependent claim is narrower overall than its

   parent independent claim, just as [35 U.S.C.] Section 112 requires." (Dkt. No. 94 at 9).

          At the April 21, 2016 hearing, Defendants argued that these dependent claims are

   indefinite because they attempt to be both broader and narrower than the claims from which they

   depend. Plaintiff responded that these dependent claims are not improperly broadening because

   they do not purport to remove any limitation. Further, Plaintiff argued that even if portions of

   the dependent claims are attempting to broaden rather than nanow, as Defendants contend, then

   the result would not be indefiniteness but would be merely that such portions are ineffective. Cf

   In re Johnston, 435 F.3d 1381, 1384 (Fed. Cir. 2006) ("optional elements do not nanow the

   claim because they can always be omitted").

          (b) Analysis

          Claim 6 of the '012 Patent depends from Claim 5, which in tum depends from Claim 1.

   Claims 1, 5, and 6 of the '012 Patent recite (emphasis added):

           1. A method for conveying user location information, comprising:
                   interfacing with an administrator that authorizes a first user associated
          with a first user identification code to access an object location information from
          a location information source associated with a second user identification code
          that is different from the first identification code; and
                   conveying the object location information to a third user based on an
          infonnation access code specified by said first user, said info1mation access code
          being associated with a third user identification code that is different from the first
          and second user identification codes.

          ***
          5. The method of claim 1, wherein the second user identification code is
          associated with a zone information comprising a coordinate on a map; and


                                                  - 64 -




                                                                                                          Exhibit "J"
                                                                                                       Page 64 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 66 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 65 of 95 PagelD #: 5961




             wherein at least one of the object location information or zone information is
             conveyed to the third user based on the information access code.

             6. The method of claim 5, wherein the second user identification code is
             associated with an object location event information that relates the object
             location information to the zone information; and wherein at least one of the
             object location information or the zone information or the object location event
             information is conveyed to the third user based on the information access code.

             Claim 9 of the '012 Patent depends from Claim 8, which in turn depends from Claim 7.

      Claims 7-9 ofthe '012 Patent recite (emphasis added):

             7. An apparatus for conveying information related to groups of users, comprising:
                     an administrator system having access to object location information, zone
             information and object location event infonnation associated with an information
             access code that specifies a user group associated with a plurality of user codes
             including 1) a privileged user code that is different from the information access
             code and 2) a second user code that is different from the first user code and
             infonnation access code; and
                     a server configured to interface with a network comprising a plurality of
             mobile devices associated with corresponding user identification codes, wherein
             the second user code is associated with a location information source of one of the
             mobile devices of the plurality of mobile devices based on the privileged user
             code; and wherein an object location information provided by the location
             information source is conveyed based on the information access code.

             8. The apparatus of claim 7, wherein at least one zone information comprising a
             coordinate on a map is associated with the second user based on the privileged
             user code, and wherein at least one of the object location information or zone
             inf01mation is conveyed based on the information access code.

             9. The apparatus of claim 8, wherein at least one object location event
             information that relates the object location info1mation to the zone information is
             associated with the second user based on the privileged user code, and wherein at
             least one of the object location information or zone information or object location
             event information is conveyed based on the information access code.

            Because the dependent claims recite additional limitations, Defendants have failed to

      demonstrate that any claim is impe1missibly broader that any corresponding claim from which

      the claim depends. See 35 U.S.C. § 112, ,r 4 ("a claim in dependent form shall contain a




                                                   - 65 -




                                                                                                  Exhibit "J"
                                                                                               Page 65 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 67 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 66 of 95 PagelD #: 5962




   reference to a claim previously set forth and then specify a further limitation of the subject matter

   claimed"). The Comi therefore hereby expressly rejects Defendants' indefiniteness arguments.

   H. Means-Plus-Function

       (1) "administrator system"

   Plaintiff's Proposed Construction                  Defendants' Proposed Construction

   No construction necessary. Or alternatively, a     Indefinite as written, or when construed in
   system for administering.                          accordance with 35 U.S.C. § 112, 16.

   Not indefinite; Should not be construed in         Function: [accessing] object location
   accordance with 35 U.S.C. § 112, 16.               information, zone information and object
                                                      location event information associated with an
                                                      information access code ('012, cl. 7)

                                                      Function: configure a corresponding plurality
                                                      of access privileges for the plurality of
                                                      authorized users that specify the specified
                                                      event conditions based on the plurality of event
                                                      inf01mation access codes ('499, cl. 1)

                                                      No corresponding structure, material, or acts
                                                      are disclosed.

   (Dkt. No. 61, Ex. A at 70); (id., Ex.Bat 2); (Dkt. No. 97, App'x A at 9). Defendants submit that

   this disputed term appears in Claims 9, 10, and 12 of the '012 Patent and Claims 1, 4, 5, 12, and

   17 of the '499 Patent. (Dkt. No. 61, Ex.Bat 2).

          Sho1ily before the staii of the April 21, 2016 hearing, the Court provided the parties with

  the following preliminary construction: "'a computer system for administering' / Expressly

  rejecting Defendants' indefiniteness argument/ Expressly rejecting Defendants' argument that

  this term is governed by 35 U.S.C. § 112(6)."

          (a) The Parties' Positions

          Plaintiff submits as to Claim 1 of the '499 Patent that "the claim does not even recite a

  function for the 'administrator system' to perform" and "instead recites terms explaining how the


                                                  - 66 -




                                                                                                              Exhibit "J"
                                                                                                           Page 66 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 68 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 67 of 95 PagelD #: 5963




      administrator system is adapted, but there is nothing for the administrator system to perform."

      (Dkt. No. 86 at 25). "Further," Plaintiff argues, "in the context of the asse1ted patents, the

      'administrator system' designates structure to skilled aitisans -      namely, a component of the

      information system that provides administration." (Id). Plaintiff also argues that this term in

      Claim 7 of the '012 Patent "is not expressed in terms using the words 'means' or 'step' for

      performing a function, no specified function follows the recited element, and the te1m would be

      understood as structure to a person skilled in the aii." (Id at 26).

              Defendants respond that "[t]here is no generally accepted definition or structure in the art

      for 'administrator system,"' "[t]he claims fail to disclose the scope of' administrator system,' and

      the specification never refers to any 'administrator system.'" (Dkt. No. 91 at 13). Alternatively,

      Defendants argue that this is a means-plus-function term because "'system' is a known 'nonce'

      term" and "[t]he modifier 'administrator' is merely functional."          (Id. at 14).    "Finally,"

      Defendants urge, "there is no corresponding algorithm in the specification for implementing the

      functions corresponding to the 'administrator system.' Rather, to the extent these functions may

      be described, they are recited at a high level of abstractness and are not even tied to any 'system'

      or 'device."' (Id. at 15).

             Plaintiff replies by incorporating the arguments set forth in its opening brief. See (Dkt.

      No. 94 at 1 n.2).

             At the April 21, 2016 hearing, Defendants reiterated that "system" is a nonce te1m that

      fails to connote any structure for performing the recited functions. Plaintiff responded that the

      claim language at issue recites configuration, not function.




                                                     - 67 -




                                                                                                     Exhibit "J"
                                                                                                  Page 67 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 69 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 68 of 95 PagelD #: 5964




           (b) Analysis

           Title 35 U.S.C. § 112, 1 6 provides: "An element in a claim for a combination may be

   expressed as a means or step for performing a specified function without the recital of structure,

   material, or acts in supp01i thereof, and such claim shall be construed to cover the corresponding

   structure, material, or acts described in the specification and equivalents thereof." "[T]he failure

   to use the word 'means' ... creates a rebuttable presumption ... that § 112, para. 6 does not

   apply." Williamson v. Citrix Online LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015) (citations and

   internal quotation marks omitted). "When a claim term lacks the word 'means,' the presumption

   can be overcome and§ 112, para. 6 will apply if the challenger demonstrates that the claim term

   fails to recite sufficiently definite structure or else recites function without reciting sufficient

   structure for perfonning that function." Id. at 1349 (citations and internal quotation marks

   omitted).

          Williamson, in an en bane p01iion of the decision, abrogated prior statements that the

   absence of the word "means" gives rise to a "strong" presumption against means-plus-function

   treatment.   Id. (citation omitted).    Williamson also abrogated prior statements that this

  presumption "is not readily overcome" and that this presumption cannot be overcome "without a

   showing that the limitation essentially is devoid of anything that can be construed as strncture."

  Id. (citations omitted). Instead, Williamson found, "[h]encef01ih, we will apply the presumption

  as we have done prior to Lighting World .... " Id. (citing Lighting World, Inc. v. Birchwood

  Lighting, Inc., 382 F.3d 1354, 1358 (Fed. Cir. 2004)). In a subsequent paii of the decision not

  considered en bane, Williamson affirmed the district court's finding that the term "distributed

  learning control module" was a means-plus-function term that was indefinite due to lack of




                                                 - 68 -




                                                                                                             Exhibit "J"
                                                                                                          Page 68 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 70 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 69 of 95 PagelD #: 5965




      corresponding structure, and in doing so Williamson stated that "'module' is a well-known nonce

      word." Id. at 1350.

              The term "system" as used here is different from the word "module" in Williamson. Id.

      at 1348 ("What is important is ... that the term, as the name for structure, has a reasonably well

      understood meaning in the art.") (quoting Greenberg v. Ethicon Endo-Surgery, Inc., 91 F.3d

      1580, 1583 (Fed. Cir. 1996)).

             In so finding, the Court applies long-standing principles articulated prior to the abrogated

      Lighting World decision. See, e.g., Linear Tech. C01p. v. Impala Linear Co1p., 379 F.3d 1311,

      1320 (Fed. Cir. 2004) ("when the structure-connoting term 'circuit' is coupled with a description

      of the circuit's operation, sufficient structural meaning generally will be conveyed to persons of

      ordinary skill in the art, and § 112 ,r6 presumptively will not apply"; noting "language reciting

      [the circuits'] respective objectives or operations"); Apex Inc. v. Raritan Computer, Inc., 325

      F.3d 1364, 1372 (Fed. Cir. 2003) ("While we do not find it necessary to hold that the term

      'circuit' by itself always connotes sufficient structure, the term 'circuit' with an appropriate

      identifier such as 'interface,' 'programming' and 'logic,' certainly identifies some structural

      meaning to one of ordinary skill in the art."); Personalized Media Commc'ns, LLC v. Int'! Trade

      Comm 'n, 161 F.3d 696, 705 (Fed. Cir. 1998) ("Even though the term 'detector' does not

      specifically evoke a particular structure, it does convey to one knowledgeable in the a1i a variety

      of structures known as 'detectors.'      We therefore conclude that the te1m 'detector' is a

      sufficiently definite structural term to preclude the application of§ 112, ,r6."); Greenberg, 91




                                                    - 69 -




                                                                                                    Exhibit "J"
                                                                                                 Page 69 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 71 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 70 of 95 PagelD #: 5966




   F.3d at 1583 (finding that "detent mechanism" was not a means-plus-function term because it

   denotes a type of device with a generally understood meaning in the mechanical mis).8

          Claim 1 of the '499 Patent recites, in relevant part (emphasis added):

          1. A system for conveying a plurality of event information associated with a
          c01Tesponding plurality of events that occur based on satisfactions of a
          conesponding plurality of specified event conditions related to locations of a
          conesponding plurality of mobile objects having a corresponding plurality of
          mobile object identification codes, wherein each mobile object is associated with
          at least one location information source that provides a corresponding location
          information over a wireless network, said system comprising:
                  one or more computer servers configured to create a plurality of
          information-sharing environments, said plurality of information-sharing
          environments providing user interfaces for a plurality of authorized users over a
          network of computing devices, ... ;
                  ... and
                  an administrator system in communication with said one or more
          computer servers adapted to configure a corresponding plurality of access
          privileges for the plurality of authorized users that specify the specified event
          conditions based on the plurality of event information access codes, wherein
          conveyance of the plurality of event information is managed based on the
          plurality of access privileges.

   Claim 7 of the '012 Patent recites (emphasis added):

          7. An apparatus for conveying information related to groups of users, comprising:
                  an administrator system having access to object location information, zone
          information and object location event information associated with an information
          access code that specifies a user group associated with a plurality of user codes
          including 1) a privileged user code that is different from the information access
          code and 2) a second user code that is different from the first user code and
          information access code; and
                 a server configured to interface with a network comprising a plurality of
          mobile devices associated with corresponding user identification codes, wherein
          the second user code is associated with a location information source of one of the
          mobile devices of the plurality of mobile devices based on the privileged user

   8
    Greenberg, 91 F.3d at 1583 ('"detent' denotes a type of device with a generally understood
  meaning in the mechanical mis, even though the definitions are expressed in functional terms");
  id. ("It is true that the term 'detent' does not call to mind a single well-defined structure, but the
  same could be said of other commonplace structural te1ms such as 'clamp' or 'container.' What
  is important is not simply that a 'detent' or 'detent mechanism' is defined in terms of what it
  does, but that the term, as the name for structure, has a reasonably well understood meaning in
  the art.")

                                                  - 70 -




                                                                                                              Exhibit "J"
                                                                                                           Page 70 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 72 of 97



   Case 2:15-cv-00727-JRG-RSP        Document 155 Filed 07/07/16          Page 71 of 95 PagelD #: 5967




             code; and wherein an object location infonnation provided by the location
             information source is conveyed based on the infonnation access code.

             The specification refers to an administrator in the context of computer systems, as evident

      from discussion of using a database of user information:

             In accordance with the present invention, an administrator of an information-
             sharing environment maintains a database of user information for those having
             access to the information-sharing environment. Such a database can be
             maintained on a central or distributed control station that may be a company's
             computer server or on an individual's personal computer.             Inf01mation
             maintained for a user typically includes a user account name and password and a
             user identification code, and may include a variety of inf01mation about the user
             including the user's name, address, phone number(s), email address(s), company
             name, title, bhih date, etc. A user may be given access privileges to certain
             classes of information based on the user's position or role within a company or
             family, a Government security clearance, and/or for other reasons deemed
             appropriate for a given info1mation-sharing environment.

             An administrator can define one or more groups to which a given user can be
             associated. Groups may be defined in accordance with an organizational structure
             or hierarchy. For example, an administrator for an information-sharing
             environment corresponding to a company may define groups for the various
             organizations within the company, such as legal, accounting, shipping, etc., and
             for groups of users not based on organization, such as executive, management,
             administrative, exempt employees, non-exempt employees, etc. After a group has
             been defined, the administrator can associate individual users with one or more of
             the defined groups. Similarly, a parent administering an information-sharing
             environment might define groups such as parents, teenagers, children, drivers, and
             so fo1ih. Inf01mation maintained for a group typically includes a group name and
             group identification code, and may include a variety of information about the
             group including the group's address, phone number, email address, website,
             point-of-contact, etc. As such, a user may be associated with one or more groups
             defined by an administrator of an information-sharing environment.

      '931 Patent at 12:61-13:29 (emphasis added).

             Plaintiffs   expe1i, Dr. Schonfeld, likewise persuasively opines that the te1m

      "administrator system" would be understood as referring to a computer system:

             242. A person of ordinary skill in the mi would recognize that "an administrator
             system" in both of these claims [(Claim 1 of the '499 Patent and Claim 7 of the
             '012 Patent], refers to a structural component of the information system described
             throughout the specification that provides the administration of the inventions in

                                                   - 71 -




                                                                                                     Exhibit "J"
                                                                                                  Page 71 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 73 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 72 of 95 PagelD #: 5968




           those claims. More specifically, one skilled in the art would recognize from the
           specification that the administrator system is a computer system (e.g., server) with
           access to a database including information regarding the identification of objects
           in the information system, and any access privileges assigned to those objects.
           This is reflected in the claim language above, which describes the administrator
           system as one that has access to the different access privileges for the users of the
           information system.

   (Dkt. No. 86, Ex. 6) (Feb. 20, 2016 Schonfeld Deel. at ,r242); see Teva, 135 S. Ct. at 841.

           Such a reading is also consistent with the smTounding claim language in Claim 1 of the

   '499 Patent, quoted above, which recites that the administrator system is "in communication with

   ...   one or more computer servers."        Although Defendants have cited authority for the

   proposition that "system" is a "nonce" term that is simply a substitute for the word "means," the

   authorities cited by Defendants are not binding on this Comi and do not address circumstances

   analogous to the above-discussed intrinsic and extrinsic evidence.           See Joao Control &

   Monitoring Sys., LLC v. Protect Am., Inc., No. l:14-CV-134, 2015 WL 4937464, at *5 (W.D.

   Tex. Aug. 18, 2015) (Yeakel, J.); Vir2us, Inc. v. Invincea Labs, LLC, No. 2:15-CV-162, Dkt.

   No. 78, slip op. at 12-13 (E.D. Va. Feb. 19, 2016) (Morgan, J.).

           Thus, the Court hereby expressly rejects Defendants' arguments that "administrator

   system" is a means-plus-function term.

           The Court accordingly hereby construes "administrator system" to mean "a computer

   system for administering."




                                                 - 72 -




                                                                                                          Exhibit "J"
                                                                                                       Page 72 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 74 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 73 of 95 PagelD #: 5969




          (2) "one or more servers configured to" and "one or more computer servers
          configured to"

      Plaintiff's Proposed Construction                 Defendants' Proposed Construction

      No construction necessary.                        Indefinite as written, or when construed in
                                                        accordance with 35 U.S.C. § 112, ,r6.
      Not indefinite; Should not be construed in
      accordance with 35 U.S.C. § 112, ,r6.             Function: interface with a network comprising
                                                        a plurality of mobile devices associated with
                                                        conesponding user identification codes ('012,
                                                        cl. 7)

                                                        Function: to create a plurality of information-
                                                        sharing environments ('499, cl. 1)

                                                        Function: to communicates [sic] with said one
                                                        or more computer servers to control access to
                                                        the plurality of information sharing
                                                        environments ('499, cl. 1)

                                                        Function: to control access to the plurality of
                                                        information sharing environments ('499,
                                                        cl. 19)

                                                       Function: All steps of '931 patent, cl. 1 and 2

                                                       No corresponding structure, material, or acts
                                                       are disclosed.

      (Dkt. No. 61, Ex. A at 116); (id., Ex. B at 4); (Dkt. No. 97, App'x A at 8). Defendants submit

      that these disputed terms appear in Claims 9, 10, and 12 of the '012 Patent, Claims 1, 4, 5, 12,

      and 17 of the '012 Patent, and Claims 2, 6, 12, 13, 16, 20, and 22-26 of the '931 Patent. (Dkt.

     No. 61, Ex. B at 4).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the paiiies with

     the following preliminary construction: "Plain and ordina1y meaning. I Expressly rejecting

     Defendants' argument that this term is governed by 35 U.S.C. § 112(6) / The Cami construes




                                                   - 73 -




                                                                                                    Exhibit "J"
                                                                                                 Page 73 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 75 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 74 of 95 PagelD #: 5970




   'configured to' to have its plain meaning, which the Court understands to require not merely

   being capable of being configured but rather being actually configured."

           (a) The Parties' Positions

           Plaintiff argues that "[C]laims 1 and 2 [of the '931 Patent] include clear structure in the

   claim itself' because "[a] 'server' is a well known term in the art, and is not a nonce term."

   (Dkt. No. 86 at 27) (emphasis omitted). As to Claims 1 and 19 of the '499 Patent and Claim 7 of

   the '012 Patent, Plaintiff likewise argues that "[t]he claims describe the configuration of the

   claimed element, but are not written in the style of a means plus function claim." (Id. at 29).

           Defendants respond that Claim 1 of the '931 Patent "is a classic example of an attempt to

   exalt form over substance to avoid triggering § 112 ,r 6." (Dkt. No. 91 at 10). Specifically,

   Defendants argue that the recital of "one or more servers" is a "black box" that lacks structure,

   and '"configured to' is merely a substitute for the word 'for."' (Id.). In other words, Defendants

   argue that "the claim recites the server(s) in purely functional terms, failing to impart sufficient

   structure to perform each of the claims' functions." (Id. at 12). As to corresponding structure,

   Defendants argue that "[b]ecause this is a computer-implemented claim limitation, an algorithm

   must be disclosed in the specification," but "no algorithm is disclosed for perfo1ming any of the

   twelve functions recited in [the claim]." (Id.).

          Defendants likewise respond as to Claim 1 of the '499 Patent that "the generic recitation

   of 'one or more servers' ... provides insufficient structure for 'creat[ing] a plurality of

   information-sharing environments."' (Id. at 13).

          Plaintiff replies that the intrinsic evidence as well as case law demonstrate that the te1m

   "server" connotes stt·ucture such that 35 U.S.C. § 112, ,r6 does not apply. (Dkt. No. 94 at 1-4).




                                                  - 74 -




                                                                                                             Exhibit "J"
                                                                                                          Page 74 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 76 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 75 of 95 PagelD #: 5971




              At the April 21, 2016 hearing, Defendants reiterated their arguments that the claims

      simply use the word "server" in place of "means" because the generic term "server" is

      insufficient to describe structure for performing the recited functions. Plaintiff responded that

      Defendants are attempting to apply the c01Tespondingstructure requirement of a means-plus-

      function analysis in an attempt to demonstrate that "server" is a means-plus-function term.

      Moreover, Plaintiff argued, a "server" is not a general-purpose computer but rather is a special-

      purpose computer.

              (b) Analysis

              Defendants have failed to demonstrate that the term "server" lacks sufficient structural

      meaning. See, e.g., Nomadix, Inc. v. Hosp. Core Servs. LLC, No. 14-08256, 2016 WL 344461,

      at *7-*8 (C.D. Cal. Jan. 27, 2016) (Pregerson, J.) ("'server' is ... a well-known structural

      term"); Atser Research Techs., Inc. v. Raba-Kistner Consultants Inc., No. SA-07-CA-93-H, 2009

      WL 691118, at *13 (W.D. Tex. Mar. 2, 2009) (Hudspeth, J.) (finding "server" not a nonce term

      because it is "clear that a server is a noun that denotes a type of structure"); cf Intellectual

      Ventures II LLC v. BITCO Gen. Ins. Co,p., No. 6:15-CV-59, 2016 WL 125594, at *14 (E.D.

      Tex. Jan. 11, 2016) (Gilstrap, J.) (regarding an "administrative interface" te1m, finding that

      '"interface' is not a verbal construct but rather connotes sufficiently definite structure to one

      skilled in the art").

              The authorities cited by Defendants are unpersuasive.           Pi-Net, which involved a

      "computer system" term, is unpersuasive because whereas the court emphasized that "the

      specification provides no details," the court did not address whether the te1m "computer system"

      itself connoted structure to a person of ordinary skill in the aii.   Pi-Net Int'! Inc. v. JPMorgan

      Chase & Co., No. 12-282-SLR, 2014 WL 1997039, at *12-*13 (D. Del. May 14, 2014)



                                                     - 75 -




                                                                                                     Exhibit "J"
                                                                                                  Page 75 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 77 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16         Page 76 of 95 PagelD #: 5972




   (Robinson, J.).   The Intellectual Ventures I cases are similar as to terms that included a

   "processing device" and a "computing device." Intellectual Ventures I, LLC v. Canon Inc., No.

   13-473-SLR, 2015 WL 1458035, at *14 (D. Del. Mar. 27, 2015) (Robinson, J.); Intellectual

   Ventures I, LLC v. Canon Inc., No. 11-792-SLR, 2014 WL 1392690, at *2-*3 (D. Del. Apr. 10,

   2014) (Robinson, J.).

          Likewise, Soque Holdings found that "if 'computer' is insufficient [corresponding]

   structure for a 'means' limitation, the naked term 'computer' cannot describe sufficient structure

   when recited directly in the claim limitation." Soque Holdings Ltd. v. Keyscan, Inc., No.

   C 09-2651, 2010 WL 2292316, at *12 (N.D. Cal. June 7, 2010) (Patel, J.).

          The Court of Appeals for the Federal Circuit, however, has rejected such an approach:

          The overall means-plus-function analysis is a two-step process. Naturally, there
          is some analytical overlap between these two steps. In the first step, we must
          dete1mine if the claim limitation is drafted in means-plus-function format. As
          paii of this step, we must construe the claim limitation to decide if it connotes
          "sufficiently definite structure" to a person of ordinary skill in the aii, which
          requires us to consider the specification (among other evidence). In the second
          step, if the limitation is in means-plus-function format, we must specifically
          review the specification for "corresponding structure." Thus, while these two
          "structure" inquiries are inherently related, they are distinct.

          ***

          [T]he first step in the means-plus-function analysis requires us to determine
          whether the entire claim limitation at issue connotes "sufficiently definite
          structure" to a person of ordina1y skill in the art. . .. In so doing, we naturally
          look to the specification, prosecution history, and relevant external evidence to
          construe the limitation. While this inquiry may be similar to looking for
          corresponding structure in the specification, our precedent requires it when
          deciding whether a claim limitation lacking means connotes sufficiently definite
          structure to a person of ordinaiy skill in the art.

  Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1296-97 (Fed. Cir. 2014) (citations omitted),

  abrogated on other grounds by Williamson, 792 F.3d 1339.




                                                - 76 -




                                                                                                           Exhibit "J"
                                                                                                        Page 76 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 78 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 77 of 95 PagelD #: 5973




              Finally, Defendants have cited Ex Parte Reddy, a decision by the Patent Trial and Appeal

      Board ("PTAB") finding that "[t]he word 'server' is a generic nonce word that connotes no

      patiicular structure. Rather, the word describes a function, viz. serving." Ex Parte Reddy,

      No. 2012-000454, 2014 WL 5511407, at *6 (P.T.A.B. Oct. 29, 2014)             This PTAB decision is

      not binding on this Court and is unpersuasive, in patiicular because Ex Parte Reddy cited no

      evidence for its finding that "server" does not connote structure. See id.

              The Comi therefore hereby expressly rejects Defendants' arguments that these disputed

      tenns are means-plus-function terms governed by 35 U.S.C. § 112, ,r 6, and the Comi hereby

      construes "one or more servers configured to" and "one or more computer servers

      configured to" to have their plain meaning, including as to the phrase "configured to," "which

      the Comi understands to require not merely being capable of being configured but rather being

      actually configured." SIPCO v. Amazon.com, Inc., et al., No. 2:08-CV-359, 2012 WL 5195942,

      at *56 (E.D. Tex. Oct. 19, 2012) (Gilstrap, J.).

          (3) "administrator device"

      Plaintiff's Proposed Construction                  Defendants' Proposed Construction

      No construction necessary.                         Indefinite as written, or when construed in
                                                         accordance with 35 U.S.C. § 112, ,r6.
      Not indefinite; Should not be construed in
      accordance with 35 U.S.C. § 112, ,r6.              Function: associates a first user identification
                                                         code with an authorized user within a group of
                                                         users

                                                         No corresponding structure, material, or acts
                                                         are disclosed.

      (Dkt. No. 61, Ex. A at 82); (id., Ex. B at 14); (Dkt. No. 97, App'x A at 21). Defendants submit

      that this disputed term appears in Claims 17 and 19 of the '207 Patent. (Dkt. No. 61, Ex. B at

      14).



                                                     - 77 -




                                                                                                     Exhibit "J"
                                                                                                  Page 77 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 79 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16         Page 78 of 95 PagelD #: 5974




           Shortly before the start of the April 21, 2016 hearing, the Court provided the pa1ties with

   the following preliminaiy construction: '"a computer system for administering' / Expressly

   rejecting Defendants' indefiniteness argument / Expressly rejecting Defendants' argument that

   this term is governed by 35 U.S.C. § 112(6)."

           (a) The Paiiies' Positions

           Plaintiff argues that "[ o]ne of ordinary skill in the art would recognize that an

   'administrator device' is a structural component that is, for example, a server with access to a

   database including information regarding the identification of objects in the information system,

   and any access privileges assigned to those objects." (Dkt. No. 86 at 29).

          Defendants respond that "[t]he same rationale for the indefiniteness of 'administrator

   system' [(addressed above)] applies here." (Dkt. No. 91 at 15).

          Plaintiff replies by incorporating the arguments set forth in its opening brief. See (Dkt.

   No. 94 at 1 n.2).

          At the April 21, 2016 hearing, Defendants reiterated that "device" is a nonce term that

   fails to connote any structure for performing the recited functions. Plaintiff responded that the

   claim language at issue recites configuration, not function.

          (b) Analysis

          Claim 17 of the '207 Patent recites (emphasis added):

          17. An information-sharing system, comprising:
                  a database storing user information associated with a plurality of groups of
          users of computing devices, each computing device having a corresponding user
          identification code stored in the database, each user identification code being
          associated with a user within each group of users; and
                  an administrator device that associates a first user identification code with
          an authorized user within a group of users, the authorized user of the group of
          users having an access privilege to location information of a computing device
          associated with a second user identification code of a user within the group of
          users that includes the authorized user, wherein the location information of the

                                                 - 78 -




                                                                                                            Exhibit "J"
                                                                                                         Page 78 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 80 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed07/07/16 Page 79 of 95 PagelD #: 5975




              computing device associated with the second user identification code is conveyed
              based on an authorization by the authorized user.

              For substantially the same reasons set forth above as to the term "administrator system,"

      the Court finds that "administrator device" is not a means-plus-function term subject to 35

      U.S.C. § 112, ,r 6. Also of note, the usage of the modifier "administrator" throughout the

      intrinsic evidence demonstrates that an "administrator device" is a computer system. See '931

      Patent at 12:61-13:29; see also Williamson, 792 F.3d at 1351 (noting that "the presence of

      modifiers can change the meaning of' an otherwise nonce term); (Dlct. No. 86, Ex. 6) (Feb. 20,

      2016 Schonfeld Deel. at ,r247); see Teva, 135 S. Ct. at 841.

             The Court therefore hereby constrnes "administrator device" to mean "a computer

      system for administering."

          (4) "interfaces for configuring ... based on varying levels of administrative privileges"

      Plaintiff's Proposed Construction                 Defendants' Proposed Construction

      No construction necessary.                        Indefinite as written, or when construed in
                                                        accordance with 35 U.S.C. § 112, ,r6.
      Not indefinite; Should not be construed in
      accordance with 35 U.S.C. § 112, ,r6.             Function: configuring the plurality of
                                                        information-sharing environments for users
                                                        based on varying levels of administrative
                                                        privileges

                                                        No corresponding structure, material, or acts
                                                        are disclosed.

      (Dlct. No. 61, Ex. A at 84); (id., Ex. B at 20); (Dkt. No. 97, App'x A at 26-27). Defendants

      submit that this disputed term appears in Claims 4, 5, 9, 10, 16, and 24 of the '166 Patent. (Dlct.

     No. 61, Ex.Bat 20).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the pmiies with

     the following preliminmy construction: "Plain and ordinmy meaning. / Expressly rejecting



                                                    - 79 -




                                                                                                   Exhibit "J"
                                                                                                Page 79 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 81 of 97



Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16           Page 80 of 95 PagelD #: 5976




   Defendants' indefiniteness argument I Expressly rejecting Defendants' argument that this te1m is

   governed by 35 U.S.C. § 112(6)."

            (a) The Paiiies' Positions

            Plaintiff argues: '"Interface' is not a nonce teim. It refers to a user interface, which one

   of ordinary skill in the art would understand is a well-known component of a computer system

   that allows for the exchange of inf01mation in the systems." (Dkt. No. 86 at 29-30).

            Defendants respond that this disputed term is "written in means-plus-function format

   without any sufficient structure to perform the functions. The te1m 'interface' is a generic term,

   and contrary to Plaintiff's position, is not a 'user interface."' (Dkt. No. 91 at 10 n.6).

            Plaintiff replies by incorporating the arguments set fo1ih in its opening brief. See (Dkt.

   No. 94 at 1 n.2).

            At the April 21, 2016 hearing, the parties did not present any oral argument as to these

   terms.

            (b) Analysis

            Claim 1 of the '166 Patent, for example, recites (emphasis added):

             1. A method for conveying information related to locations of a plurality of
            mobile devices of users in a plurality of user groups, comprising:
                    creating a plurality of information-sharing environments over a network of
            computing devices comprising inte,faces for configuring the plurality of
            information-sharing environments for users based on varying levels of
            administrative privileges, wherein the plurality of information-sharing
            environments comprise a first information-sharing environment and a plurality of
            second information-sharing environments, said plurality of second info1mation-
            sharing environments comprising a plurality of independently configurable
            location info1mation sharing environments created within the first information
            sharing environment;
                    configuring the first information-sharing environment based on a first
            level of administrative privilege to associate one or more users that use the
            plurality of location information sharing environment with each one of the
            plurality of user groups;



                                                   - 80 -




                                                                                                              Exhibit "J"
                                                                                                           Page 80 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 82 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16           Page 81 of 95 PagelD #: 5977




                      configuring each one [of] the plurality of location information-sharing
              environments for each user group independent of one another based on at least
              one second level of administrative privilege by specifying one or more levels of
              location information access privilege for at least one authorized user in each user
              group; and
                     managing conveyance of information related to location of the plurality of
              the mobile devices in the plurality of user groups based on a plurality of location
              information access privileges associated with a plurality of authorized users.

              Defendants have failed to demonstrate that the term "interfaces" does not connote

      structure. See Intellectual Ventures II, 2016 WL 125594, at *14 (Gilstrap, J.) (regarding an

      "administrative interface" term, finding that '"interface' is not a verbal construct but rather

      connotes sufficiently definite structure to one skilled in the art"); cf Personalized Media, 161

      F.3d at 705 ("Even though the term 'detector' does not specifically evoke a particular structure,

      it does convey to one knowledgeable in the art a variety of structures known as 'detectors.' We

      therefore conclude that the te1m 'detector' is a sufficiently definite structural term to preclude the

      application of§ 112, ,r6."); Greenberg, 91 F.3d at 1583 (finding that "detent mechanism" was

      not a means-plus-function term because it denotes a type of device with a generally understood

      meaning in the mechanical mis).

             The Comi therefore hereby expressly rejects Defendants' arguments that this "interfaces"

     te1m is a means-plus-function te1m. No fu1iher construction is necessary. See US. Surgical,

      103 F.3d at 1568; see also 02 Micro, 521 F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo,

     694 F.3d at 1326; Summit 6, 802 F.3d at 1291.

             The Court accordingly hereby construes "interfaces for configuring . . . based on

     varying levels of administrative privileges" to have its plain meaning.




                                                     - 81 -




                                                                                                      Exhibit "J"
                                                                                                   Page 81 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 83 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 82 of 95 PagelD #: 5978




       (5) "first level of administrator privilege being used in a first information-sharing
       environment to allow for configuring a plurality of event information-sharing
       environments"

   Plaintiff's Proposed Construction                  Defendants' Proposed Construction

   No construction necessary.                         Indefinite as written, or when construed in
                                                      accordance with 35 U.S.C. § 112, ,r6.
   Not indefinite; Should not be construed in
   accordance with 35 U.S.C. § 112, ,r6.              Function: configuring a plurality of event
                                                      infonnation-sharing environments

                                                      No corresponding structure, material, or acts
                                                      are disclosed.

   (Dkt. No. 61, Ex. A at 90); (id., Ex. B at 25); (Dkt. No. 97, App'x A at 54). Defendants submit

   that this disputed term appears in Claims 1, 4, 5, 12, and 17 of the '499 Patent. (Did. No. 61, Ex.

   Bat 25).

          Plaintiff submits that "[t]he 'first level of administrator privilege' is one of the 'varying

   levels of administrative privilege,' for which both parties have set forth a construction." (Dkt.

   No. 86 at 30). Defendants' response brief does not address this term. See (Dkt. No. 91). Plaintiff

   replies by incorporating the arguments set fo1ih in its opening brief. See (Did. No. 94 at 1 n.2).

   At the April 21, 2016 hearing, the paiiies did not present any oral argument as to this term.

          Because Defendants have not presented any argument in their briefing, the Comi does not

   construe this term.




                                                  - 82 -




                                                                                                             Exhibit "J"
                                                                                                          Page 82 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 84 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 83 of 95 PagelD #: 5979




          (6) "access control systems"

      Plaintiff's Proposed Construction                  Defendants' Proposed Construction

      No construction necessary. Alternatively,         Indefinite as written, or when construed in
      systems for controlling access.                   accordance with 35 U.S.C. § 112, ,r6.

      Not indefinite; Should not be construed in        Function: to communicates [sic] with said one
      accordance with 35 U.S.C. § 112, ,r6.             or more computer servers to control access to
                                                        the plurality of information sharing
                                                        environments

                                                        No corresponding structure, material, or acts
                                                        are disclosed.

      (Dkt. No. 61, Ex. A at 122); (id., Ex. B at 26); (Dkt. No. 97, App'x A at 56). Defendants submit

      that this disputed term appears in Claims 1, 4, 5, 12, and 17 of the '499 Patent. (Dkt. No. 61, Ex.

      Bat 26).

             Shortly before the start of the April 21, 2016 hearing, the Court provided the parties with

      the following preliminaiy construction: "Plain and ordinaiy meaning. / Expressly rejecting

      Defendants' indefiniteness argument I Expressly rejecting Defendants' argument that this term is

      governed by 35 U.S.C. § 112(6)."

             (a) The Paiiies' Positions

             Plaintiff argues that this disputed term "refers to structural components of an information

      system, such as servers, that control access to information for devices in the system." (Dkt.

     No. 86 at 30).

             Defendants respond that "[t]he same rationale for the indefiniteness of 'administrator

      system' applies here." (Dkt. No. 91 at 15-16). In particular, Defendants argue that "the 'access

     control' modifier only describes the system's purported function and does not impart any

     structure." (Id. at 16).




                                                    - 83 -




                                                                                                    Exhibit "J"
                                                                                                 Page 83 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 85 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 84 of 95 PagelD #: 5980




          Plaintiff replies by incorporating the arguments set forth in its opening brief. See (Dkt.

   No. 94 at 1 n.2).

          At the April 21, 2016 hearing, the parties presented similar arguments as to this term as

   for "administrator system," which is addressed above.

          (b) Analysis

          Claim 1 of the '499 Patent recites, in relevant part (emphasis added):

          1. A system for conveying a plurality of event information associated with a
          corresponding plurality of events that occur based on satisfactions of a
          corresponding plurality of specified event conditions related to locations of a
          conesponding plurality of mobile objects having a corresponding plurality of
          mobile object identification codes, wherein each mobile object is associated with
          at least one location information source that provides a corresponding location
          information over a wireless network, said system comprising:

                  one or more access control systems that are configured to communicates
          [sic] with said one or more computer servers to control access to the plurality of
          information sharing environments, wherein access control to the plurality of
          information sharing environments is based on access control codes requiring
          multiple levels of access control comprising a first level of access control and a
          second levels [sic] of access control, wherein access to said first information
          sharing environment is controlled under the first level of access control based on
          access control codes associated with the plurality of authorized user identification
          codes, wherein access to said event information sharing environments is
          controlled under the second level of access control to access the plurality of
          specified event conditions independent of each other based on a corresponding
          plurality of event information access codes that are associated with the plurality of
          authorized user identification codes; ...


          The language that follows this disputed tenn thus recites that the access control systems

   "are configured to communicates [sic] with said one or more computer servers." This weighs in

   favor of construing the disputed term in the context of computer systems. See Phillips, 415 F.3d

   at 1314 ("the context of the surrounding words of the claim also must be considered in

   determining the ordina1y and customary meaning of those terms") (citation and internal

  quotation marks omitted).


                                                 - 84 -




                                                                                                          Exhibit "J"
                                                                                                       Page 84 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 86 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16 Page 85 of 95 PagelD #: 5981




              The specification likewise discusses access codes and access control in the context of

      computer systems. See '93 l Patent at 7:37-8:23 & 10:30-39. Plaintiffs expe1t likewise opines:

      "One of ordinary skill in the aii would understand that the 'access control systems' in claim 1 of

      the '499 patent refers to stmctural components of an information system. Namely, it refers to

      computing systems (e.g., servers) that control access to information for devices in the

      information system." (Dkt. No. 86, Ex. 6) (Feb. 20, 2016 Schonfeld Deel. at ,r262); see Teva,

      135 S. Ct. at 841.

              For these reasons, as well as substantially the same reasons set fo1th as to the tenn

      "administrator system" (addressed above), the Court hereby expressly rejects Defendants'

      arguments that "access control systems" is a means-plus-function term. No further constmction

      is necessmy. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521 F.3d at 1362; Fin.Jan,

      626 F.3d at 1207; Active Video, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291.

              The Court hereby constmes "access control systems" to have its plain meaning.

      I. Computing Device/ Mobile Device/ Etc. Associated with a User Identification Code or
      User, or Having a User Identification Code

             The disputed terms here at issue are set f01th in Appendix B to Defendants' responsive

      brief (Dkt. No. 91 at App'x B) and are: "[object] associated with ... user identification code [or

      user]"; "location information source associated with a second user identification code"; "the

      second user code is associated with a location information source of one of the mobile devices of

      the plurality of mobile devices based on the privileged user code"; "second computing device

      associated with one of the second user or the third user"; "first computing device associated with

      the first user"; "mobile devices associated with corresponding user identification codes";

      "computing devices associated with a plurality of users"; "mobile device associated with a user

      identification code in the contact list"; "computing device having a ... user identification code";


                                                    - 85 -




                                                                                                    Exhibit "J"
                                                                                                 Page 85 of 96
 Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 87 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 86 of 95 PagelD #: 5982




   "computing device associated with a second user identification code"; "computing devices

   associated with the first and second user identification codes"; "each computing device having a

   corresponding user identification code stored in the database"; "a third user identification code is

   associated with a computing device ...         "; "mobile device associated with [the] second

   identification code"; "second identification code associated with a second mobile device"; "first

   user identification code associated with a first mobile device"; "a plurality of user identification

   codes associated with a plurality of mobile devices"; "third mobile device associated with a third

   identification code"; "plurality of mobile objects having a c01Tespondingplurality of mobile

   object identification codes"; and "each mobile device is associated with an identification (ID)."

   See (Dkt. No. 97 at App'x A).

           Shortly before the start of the April 21, 2016 hearing, the Court provided the paiiies with

   the following preliminary construction: "Plain and ordinary meaning. / Expressly rejecting

   Defendants' indefiniteness argument."

           (1) The Parties' Positions

           Defendants argue that "'association' of a computing device (or the like) with a user or

   user identification code means a user identification code must either be embedded in, or entered

   into the computing device via a user log-in at, the computing device itself." (Dkt. No. 91 at 28).

           Plaintiff replies that Defendants' arguments should be disregarded because "Dr. Heppe

   [Defendants' expert] offered these alternative constructions in his declaration, but Defendants

  never adopted them in their [P.R.] 4-2 disclosures or the Joint Claim Construction Statement."

  (Dkt. No. 94 at 10).

           At the April 21, 2016 hearing, the parties did not present any oral argument as to these

  terms.



                                                 - 86 -




                                                                                                             Exhibit "J"
                                                                                                          Page 86 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 88 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16           Page 87 of 95 PagelD #: 5983




              (2) Analysis

              Defendants' response brief refers to these terms in a section titled "Indefinite Tenns with

      Alternative Construction," but Defendants have presented no indefiniteness argument as to these

      terms aside from their arguments as to the tenns "user identification codes" and "authorized user

      identification code," which are addressed above.

              As to Defendants' proposal that a paiiicular type of "association" is required, no such

      proposals appear in Defendants' submission in the Joint Claim Construction and Pre-Hearing

      Statement (Dkt. No. 61, Ex.Bat 1, 5-6, 12-13, 17, 23 & 28). Fmiher, although the specification

      discloses that "[f]or example, association of a user identification code with a computing device

      can be an embedded association (e.g., hard-wired) or it can be based on a user log-in at the

      computing device" ('931 Patent at 2:18-21; see id. at 6:64-7:2; see also id. at 7:29-31, 7:50-52

      & 9:63-67), this is a specific feature of particular disclosed embodiments that should not be

      imported into the claims. See Comark, 156 F.3d at 1187; see also Phillips, 415 F.3d at 1323.

             The Comi therefore expressly rejects Defendants' proposed construction. No further

      construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521 F.3d at

      1362; Fin.Jan,626 F.3d at 1207; Active Video, 694 F.3d at 1326; Summit 6, 802 F.3d at 1291.

             The Comi hereby construes these disputed terms to have their plain meaning.

      J. "information access code" associated with, comprises, or specifies a "user identification
      code"

      Plaintiff's Proposed Construction                  Defendants' Proposed Construction

      Not indefinite.                                    Indefinite

     No construction necessaty.

      (Dkt. No. 61, Ex. A at 48, 50, 51, 52); (id., Ex.Bat    7, 8 & 24); (Dkt. No. 91 at 29); see, e.g.,

      (Dkt. No. 97, App'x A at 3). Defendants submit that these disputed terms appear in Claims 6, 9,


                                                    - 87 -




                                                                                                    Exhibit "J"
                                                                                                 Page 87 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 89 of 97



Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16 Page 88 of 95 PagelD #: 5984




   10, and 12 of the '012 Patent and Claims 1, 4, 5, 12, and 17 of the '499 Patent. (Dkt. No. 61, Ex.

   B at 7-8 & 24).

          Shortly before the start of the April 21, 2016 hearing, the Court provided the paiiies with

   the following preliminary constrnction: "Plain and ordinary meaning. / Expressly rejecting

   Defendants' indefiniteness argument."

          (1) The Paiiies' Positions

          Defendants argue that "[a] POSA [(person of ordinary skill in the mi)] would understand

   each of these terms to mean 'infmmation access codes' conesponding with and designating

   certain 'user identification codes' or 'group identification codes' stored in a database, but the

   'user identification codes' themselves are not the 'information access code."' (Dkt. No. 91 at

   29).

          Plaintiff replies that "Dr. Heppe [Defendants' expe1i] offered these alternative

   constructions in his declaration, but Defendants never adopted them in their 4-2 disclosures or

   the Joint Claim Construction Statement." (Dkt. No. 94 at 10).

          At the April 21, 2016 hearing, Defendants reiterated their argument that "information

   access code" must have a meaning different from "user identification code."

          (2) Analysis

          Defendants' response briefrefers to these terms in a section titled "Indefinite Terms with

  Alternative Construction," but Defendants have presented no indefiniteness argument as to these

  terms aside from their arguments as to the terms "user identification codes" and "info1mation

  access code," which are addressed above.

          As to Defendants' proposal that "the 'user identification codes' themselves are not the

  'info1mation access code"' (Dkt. No. 91 at 29), no such proposals appear in Defendants'



                                                - 88 -




                                                                                                           Exhibit "J"
                                                                                                        Page 88 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 90 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 89 of 95 PagelD #: 5985




      submission in the Joint Claim Construction and Pre-Hearing Statement (Dkt. No. 61, Ex. B at 7,

      8 & 24). Fmiher, although the specification distinguishes between information access codes and

      user identification codes (see '931 Patent at 7 :46-60 ("[i]n one arrangement," "an access code

      would typically include specific user identification codes and/or group codes")), this is a specific

      feature of particular disclosed embodiments that should not be imp01ied into the claims. See

      Comark, 156 F.3d at 1187; see also Phillips, 415 F.3d at 1323. The specification explains that

      usage of paiiicular access codes is implementation-specific and may involve layers of access

      control. See '931 Patent at 10:30-39.

              The Comi therefore hereby expressly rejects Defendants' proposed constrnction. No

      fmiher construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521

      F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d

      at 1291.

             The Court accordingly hereby construes these disputed terms to have their plain

      meaning.

      K. "based on the information access code"

      Plaintiff's Proposed Construction                 Defendants' Proposed Construction

      Not indefinite.                                   Indefinite

      No construction necessary.

      (Dkt. No. 61, Ex. A at 55); (id., Ex. B at 8); (Dkt. No. 91 at 30); (Dkt. No. 97, App'x A at 4).

      Defendants submit that this disputed tenn appears in Claims 6, 9, 10, and 12 of the '012 Patent.

      (Dkt. No. 61, Ex.Bat 8-9).




                                                    - 89 -




                                                                                                    Exhibit "J"
                                                                                                 Page 89 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 91 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 90 of 95 PagelD #: 5986




           Sh01ily before the stati of the April 21, 2016 hearing, the Comi provided the patiies with

   the following preliminaiy construction: "Plain and ordinary meaning. / Expressly rejecting

   Defendants' indefiniteness argument."

           (I) The Parties' Positions

           Defendants argue that "a POSA [(person of ordinaty skill in the ati)] would understand

   these terms to mean conveyance contingent on the entry of an 'information access code' into a

   specific 'access code' field in the user interface of a computer program." (Dkt. No. 91 at 30).

           Plaintiff replies that "Dr. Heppe [Defendants' expeti] offered th[is] alternative

   construction[] in his declaration, but Defendants never adopted [it] in their 4-2 disclosures or the

   Joint Claim Construction Statement." (Dkt. No. 94 at 10).

           At the April 21, 2016 hearing, the parties did not present any oral argument as to this

   term.

           (2) Analysis

           Defendants' response brief refers to these terms in a section titled "Indefinite Terms with

   Alternative Construction," but Defendants have presented no indefiniteness argument as to these

   terms aside from their arguments as to the te1ms "user identification codes" and "inf01mation

   access code," which are addressed above.

           As to Defendants' proposal that a "specific 'access code' field" must be used (Dkt.

  No. 91 at 30), no such proposal appears in Defendants' submission in the Joint Claim

  Construction and Pre-Hearing Statement (Dkt. No. 61, Ex. B at 8). Further, although the

  specification discloses a user entering an access code into a device (see '931 Patent at 7 :64-8 :3

  & 20: 16-24 ("Configuration Screen 1000 provides fields for entering a user data access code,

  user phone number, log file name, and a user domain or IP address.")), this is a specific feature



                                                 - 90 -




                                                                                                             Exhibit "J"
                                                                                                          Page 90 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 92 of 97



   Case 2:15-cv-00727-JRG-RSP         Document 155 Filed 07/07/16          Page 91 of 95 PagelD #: 5987




      of particular disclosed embodiments that should not be imported into the claims. See Comark,

      156 F.3d at 1187; see also Phillips, 415 F.3d at 1323.

              The Court therefore hereby expressly rejects Defendants' proposed construction. No

      further construction is necessary. See US. Surgical, 103 F.3d at 1568; see also 02 Micro, 521

      F.3d at 1362; Finjan, 626 F.3d at 1207; ActiveVideo, 694 F.3d at 1326; Summit 6, 802 F.3d

      at 1291.

             The Comi accordingly hereby construes "based on the information access code" to

      have its plain meaning.

      L. Hybrid Claims

             Sh01ily before the stmi of the April 21, 2016 hearing, the Comi provided the parties with

      the following prelimina1y construction: "The Comi rejects Defendants' indefiniteness arguments

      regarding purpo1ied hybrid claiming. No further construction is necessary."

             (1) The Parties' Positions

             Defendants argue:

             Certain apparatus/system claims (012:7-12; 207:17, 19; 166:5, 8-10, 15, 16;
             499:1, 3-6, 11, 12, 16, and 17) improperly require method steps which "create
             confusion as to when direct infringement occurs because [the claim is] directed
             both to systems and to actions" and render those claims indefinite. In re Katz
             Interactive Call Processing Patent Lit., 639 F.3d 1303, 1318 (Fed. Cir. 2011)
             (wherein clause in system claim signified a method step directed to user action
             which rendered claim indefinite); IPX[L] Holdings, LLC v. Amazon.com, Inc., 430
             F.3d 1377 (Fed. Cir. 2005). Appendix E sets fmih the pertinent language for
             asse1ied claims which raise this issue, along with an explanation of the context.

      (Dlct.No. 91 at 30).

             Plaintiff replies that the claims at issue "merely recite the fimctional capabilities of the

      claimed system/apparatus, by stating that certain types of information be 'associated' with




                                                    - 91 -




                                                                                                    Exhibit "J"
                                                                                                 Page 91 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 93 of 97



Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 92 of 95 PagelD #: 5988




   certain elements or stating the criteria that the system/apparatus employs for 'conveying'

   information." (Dlct.No. 94 at 9).

           (2) Analysis

           Defendants' response brief contains 30 pages of argument, which is the usual maximum

   number of pages permitted under the Court's Local Rules. See P.R. 4-5(e) & L.R. CV-7(a).

   Because Defendants' arguments as to these purported hybrid claims appear in a nine-page

   Appendix E, which is outside of the 30-page limit, the Court need not consider these arguments.

          Alternatively, on the merits, Defendants have not demonstrated that any of the claims at

   issue recite active method steps. Instead, the limitations at issue set forth functional capabilities

   or configurations. In particular, the principles set forth in Yodlee, Inc. v. CashEdge, Inc., No. 05-

   01550, 2006 WL 3456610, at *4-*6 (N.D. Cal. Nov. 29, 2006) (Illston, J.), are applicable:

          A simple analogy would be a claim which physically describes a pair of scissors
          designed to cut paper, then states, "upon opening and closing the sharp edges of
          the scissors on a piece of paper, the paper is cut." The language describes the
          capability of the scissors; it is function language. Infringement occurs upon the
          manufacturing and sale of scissors that are capable of cutting paper. The IPXL
          rule would apply only if the patent claimed the physical description of the
          scissors, then stated within the same claim: "and the method of using said scissors
          to cut a piece of paper." The claims at issue here are analogous to the former
          example. They describe what the apparatuses do, when used a ce1iain way. They
          do not claim use of the apparatuses. Thus, they do not "recit[e] both an apparatus
          and a method of using that apparatus." IPXL, 430 F.3d at 1384.

   Yodlee, 2006 WL 3456610, at *5. Although Yodlee is not binding authority upon this Comi, the

   reasoning is persuasive here.

          The Court therefore hereby expressly rejects Defendants' indefiniteness arguments

  regarding purported hybrid claiming. No further construction is necessaiy in this regard.




                                                  - 92 -




                                                                                                              Exhibit "J"
                                                                                                           Page 92 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 94 of 97



   Case 2:15-cv-00727-JRG-RSP          Document 155 Filed 07/07/16          Page 93 of 95 PagelD #: 5989




                                             V. CONCLUSION

              The Court adopts the constrnctions set forth in this opinion for the disputed terms of the

      patents-in-suit.

              The parties are ordered to not refer to each other's claim construction positions in the

      presence of the jury. Likewise, in the presence of the jury, the patties are ordered to refrain from

      mentioning any potiion of this opinion, other than the actual definitions adopted by the Court.

      The Court's reasoning in this order binds the testimony of any witnesses, but any reference to the

      claim construction proceedings is limited to informing the jury of the definitions adopted by the

      Comi.

              SIGNED this 7th day of July, 2016.




                                                             ROYS.PA\YNE                   l
                                                             UNITED STATES MAGISTRATE filDGE




                                                    - 93 -




                                                                                                     Exhibit "J"
                                                                                                  Page 93 of 96
  Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 95 of 97



Case 2:15-cv-00727-JRG-RSP           Document 155 Filed 07/07/16 Page 94 of 95 PagelD #: 5990




                                               APPENDIX A

                          Term                                           Parties' Agreement
   "second information-sharing environment"              "second info1mation-sharing environments"

   ('166 Patent, Claims 5, 9, 10, 16)

   "based a plurality"                                  "based on a plurality"

   ('166 Patent, Claims 5, 9, 10, 16, 19)

   "mobile devices"                                     "mobile device"

   (' 166 Patent, Claim 16)

   "different the first user identification code"       "different from the first user identification
                                                        code"
   (' 166 Patent, Claim 16)

   "different the first and second user                 "different from the first and second user
   identification codes"                                identification codes"

   (' 166 Patent, Claim 16)

   "based a first level of administrative privilege"    "based on a first level of administrative
                                                        privilege"
   (' 166 Patent, Claim 24)

   "first user identification"                          "first user identification code"

   ('166 Patent, Claim 24)

   "first identification code"                          "first user identification code"

   (' 166 Patent, Claim 24)

   "communicates"                                       "communicate"

  ('499 Patent, Claims 1, 4, 5, 12, 17)

  "second levels"                                       "second level"

  ('499 Patent, Claims 1, 4, 5, 12, 17)




                                                    - 94 -




                                                                                                           Exhibit "J"
                                                                                                        Page 94 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 96 of 97




                                                                    Exhibit "J"
                                                                 Page 95 of 96
Case 1:23-mi-99999-UNA Document 124-17 Filed 01/13/23 Page 97 of 97



   Case 2:15-cv-00727-JRG-RSP    Document 155 Filed 07/07/16     Page 95 of 95 PagelD #: 5991




      "related a"                               "related to a"

      (' 499 Patent, Claim 17)


      (Dkt. No. 61 at 2).




                                           - 95 -




                                                                                     Exhibit "J"
                                                                                  Page 96 of 96
